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and as parent, and next friend for ADAM I
minor; CHRISTINE CARNLEY, individua
TIMOTHY CARNLEY, individually, and a
parents, and negt friend for KRYSTAL BER!
a minor, and HEATHER BEROUTY, a
HEIDI CHILDS, individually, and ROLLIE
CHILDS, individually, and as parents, and
friend for KATIE CHILDS, a minor, and SC
CHILDS, a mirior; PARTRICA CLARK,
individually, and as parent, and next friend
BRADFORD BURKE, a minor; VICKI —
CLOANINGER, individuallly, and MICHA
CLOANINGER, individually, and as parents; and
next friend for JOSHUA CLOANINGER, a miiric
KAREN COCHRAN, individually and, C
COCHRAN, individually, and as parents, ay
friend for TIMOTHY THOMAS, a minor; °
ROBERT COCHRAN, individually, and as patent,
and next friend for TREVOR COCHRAN, a minor,
and HEAVEN COCHRAN, a minor; J OHN
CROSANO, individually, and CATHERINE. =
CROSANO, individually, and as parents, and} next
friend for LOREN CROSANO, a minor, and
HOLLY CROSANO, a minor; TRACEY — .
CROSSNO, individually, and as parent, and next
friend for PATRICK CROSSNO, a minor, and
MIRANDA SINGLETARY, a minor, and
MICHAEL SINGLETARY, a minor; MYRA
CULLATON, individually, and BRIAN
CULLATION, individually, and as parent, and next
friend for HANK HUSSEY, a minor; and JORDAN
HUSSY, a minor; APRIL CUMMINS,
individually, and JOHN CUMMINS, individually,
and as parents, and next friend forJOHN
CUMMINS, a minor, MATTHEW CUMMINS, a
minor; and NICHOLAS CUMMINS, a minor, and
AMBER CUMMINS, a minor; TERRI DALPE,
individually, and RONALD DALPE, individually,
and as parents, and next friend for EMILY DALPE,
aminor, and AMBER DALPE, a minor;
CHARLES DEFELICE, individually, and =
DANIELLE DEFELICE, individually, and as ~
parents, and as next friend for ATHENA
DEFELICE, a minor, and

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MICHAEL DEFELICE, a minor; IRENE DENNIS,
individually, andl as parent, and next friend for
AMANDA DENNIS, a minor, AMBER DENNIS, a
minor, CHRISTOPHER DENNIS, a minor; and
AMY DENNIS, aminor; JULIE DOLL,
individually, and MARK DOLL, individually, and
as parents, and next friend for MARA DOLL, a
minor, AMANDA DOLL, a minor, BILLY YATES,
a minor, and KALEB YATES, a minor; AMBER
DRIGGERS, individually, and as parent, and next
friend for DESMOND DRIGGERS, a minor;
ELIZABETH EARLS, individually, and TIMOTHY
EARLS, individually, and as parents, and next
friend for KARL EARLS, a minor; and ASHLEY
EARLS, a minor; BRIDGET EDWARDS, —
individually, and STEVEN EDWARDS,
individually, and as parents, and next friend for
STEPHANIE EDWARDS, a minor; and JASON
LYNCH, a minor; PAUL ELWING, individually,
and ADAIR ELWING, individually, and as parents,
and next friend for ANDREW ELWING, a minor;
JAYNE EWEN, individually, and as parent, and
next friend for R.J. EWEN, a minor; and JESSICA
EWEN, a minor; ROSE MARY FARRELL,
individually, and ROBERT FARRELL,
individually, and as parents, and next friend for
ROBERT FARRELL JR., a mmor; CHRISTINE
FARRELL, a minor; and BARBARA FARRELL, a
minor; REGINA FORD, individually, and as
parent, and next friend for AMANDA FORD, a
minor; CHRISTA FORD, a minor; and SELENA
FORD, a minor, BRYAN FRASHER, individually,
and KRISTINA FRASHER individually, and as
parents, and next friend for CASSIE FRASHER, a
minor, BRYAN FRASHER, a minor, CHARIES
FRASHER, a minor, and DANIELLE FRASHER, a
minor, SUSANNE GARDNES, individually, and
as parent, and next friend for RACHEL MORRIS, a
minor, RHONDA GARRETT, individually, and
JAMES GARRETT, individually, and as parents,
and next friend for JUSTIN ZINK, a minor; and
MIRANDA GARRETT, a minor; MARIAM
GATLIN, individually, and BAYLIS GATLIN,

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individually, and as parents, and next frie:
CAROL HOLLIDAY, a minor, DARYL
HOLLIDAY, a minor; and JOSEPH
TOUCHSTONE, aminor; MELISSA GAY,

_ individually, ang as parent, and next friend for _
MICHAEL GAY JR., a minor; CORI GILILEO,
individually, and MICHAEL GILILEO,
individuallly, and as parents, and next friends for
MICHAEL GILILEO, a minor, and CAITLIN |
GILILEO, a minor; MARK GILL, individually, and
as parent, and next friend for TRACIE GILL, a
minor; STEVE GILLOOLEY, individually, and
JEANNIE ADAMS, individually, and as parents,
and next friends for SHAWN GILLOOLEY, a ©
minor, and MATTHEW GILLOOLEY, a minor;
CHARLES GILLSTRUP, individually, and as ~
grandparent, and next friend for M. LEIGHTON |
WARREN, a minor; JOANNE GILMORE, _
individually, and DOUGLAS GILMORE,
individually, and as parents, and next friends for
LISA GILMORE, a minor; and AMY GILMORE, a
minor, KAREN GOGOLIN, individually, and as
parent, and next friend for JENNIFER ARD, a
minor; KATHERINE GOODWIN, individually,
and JIMMY GOODWIN, individually, and as
parents, and next friends for JIMMY GOODWIN, a
minor, BOBBY GOODWIN, a minor, MATTHEW
GOODWIN, a minor, and THOMAS GOODWIN,
aminor; MAUREEN GOODWIN, individually,
and WAYNE GOODWIN, individually, and as
parents,, and next friends for JESSICA BARBER, a
minor; MARILYN GORUM, individually, and
DANNY GORUM, individually, and as parents,
and next friend for CORY SIEGESMUND, a minor,
and DANNY GORUM, a minor; JACQUELYN
GRAHAM, individually, and as parent, and next
friend for DE'ASHLEY GRAHAM, a minor; and
JONA'CEE DERICK, a minor; SANDRA
HACKNEY, individually, and LAYMON
HACKNEY, individually, and as parents, and next
friends for TIA PREAST, a minor, TARA
PREAST, a minor, and GARY PREAST, a minor;
DONNA HAGER, individually, and ROBERT
HAGER,

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individually, and as parents, and next friends for
ROBIN HAGER, a minor; LAURA HAINES,
individually, and as parent, and next friend for
JESSICA HAINES, a minor, VICTORIA HAINES,
aminor, BRADLEY HAINES, a minor, and
STEPHEN HAINES, a minor; ROBBIN
HAMILTON, individually, and CLETE
HAMILTON, individually, and as parents, and next
friend for CHANTAL HAMILTON, a minor, and
SKYLAR HAMILTON, a minor; ANGEL —
HARRIS, individually, and as parent, and next
friend for HEATHER HARRIS, a minor;
DORINDA HARRIS, individuallly, and JAMES
HARRIS, individually, and as parents, and next
friend for MEGAN ODOM, a minor, and CASEY
ODOM, a minor; SHARIE HAYES, individually,
and as parent and next friend for BRITTANY
HEYES, a minor,STEVEN TITUS, a minor, and
MELISSA TITUS, a minor, MARK HEMMING,
individually, and THERESA HEMMING,
individually, and as parents, and next friends for
RAYMOND HEMMING, a minor, KRISTEN
SIZEMORE, a minor, and TIERRA WIENOID, a
minor; CRAIG HILL, individually, and WILMA
HILL, individually, and as parents, and next friends
for CRAIG HILL JR., a minor, JENNIFER HILL, a
minor, and JOSHUA HILL, a minor; CONTINA
HILLMAN, individually, and DWAYNE
WILLIAMS, individually, and as parents, and next
friends for DESIRAY WILLIAMS, a minor; and
DWAYNE RENTZ, a minor; SHIRLEY HILSON,
individually, and as parent, and next friend for
MARY ANN FRANKLIN, a minor; and JERRY
HILSON, a minor; LISA HITT, individually, and
BRUCE HITT, individually, and as parents, and
next friends for MICHAEL RANAURO, a minor,
MICHELLE RANAURO, a minor, KATIE
RANAURO, a minor, MOLLY RANAURO, a
minor, and TYLER RANAURO, a minor;
SHARON HORNSBY, individually, and
FREDERIC HORNSBY, individually, and as
parents, and next friends for FREDERIC
HORNSBY III, a minor, and JULIA HORNSBY, a

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minor; DANIEL HOWELL, individually, and
TIFFANY HOWELL, individually, and as parents,
and next friends for COREY GOBLE, a minor, and
COTY GOBLE, a minor; PAUL HOWELL,
individually, and as parent, and next friend for
KRISTY HOWELL, a minor; HOLLY HUFFMAN,
individually, and as parent, and next friend of
BRANDON HUFFMAN, a minor, and BRITTANY
HUFFMAN, a minor; APRIL HUGGINS,
individually, and JAMES HUGGINS, individually,
and as parents, and next friends for JAMES
HUGGINS JR., a minor, and GARY HUGGINS, a
minor; CHRISTOPHER HUGHES, individually,
and DEBORA HUGHES, individually, and as
parents, and next of friends for JEREMY HUGHS,
aminor; DAVID HUNT, individually , and as
parent, and next friend of MARY HUNT, a minor;
JAMES JENKINS, individually, and PAMELA
JENKINS, individually, and as parents, and next
friends for ASHLEY MCCOY, a minor, and
CHARLES MCCOY, a minor; LORAINA
JOHNSON, individually, and WILLIAM STOKES,
individually, and as parents, and next friends for
LEILA JOHNSON, a minor; BILLY JOHNSON,
individually, and ROBYN JOHNSON, individually,
and as parents, and next friends for MEGAN
STEARNS, a minor; RICHARD JOYCE, JR.,
individually, and MELISSA MANN, individually,
and as parents, and next friend for ASHLEY
MANN, a minor, and BRANDON JOYCE, a minor;
BETH KEIGANS, individually, and RAYMOND
KEIGANS, individually, and as parents, and next
friends for SARAH KEIGANS, a minor; ROSALIE
KELLEY, individually, and BOBBY KELLEY,
individually, and as parents, and next friends for
CHRISTOPHER KELLEY, a minor, JESSICA
KELLEY, a minor, and BOBBY KELLEY, a minor;
ARMANDA KELLY, individually, and ROBERT
KELLY, individually, and as parents, and next
friends for KATHERINE KELLY, a minor;
KEENON KELLY, individually, and HOLLY
KELLY, individually, and as parents, and next
friends for JOHN KELLY, a minor, and

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ELIZABETH KELLY, a minor; ALVIS
KENNEDY, individually, and A.V. KENNEDY,
individually, and as parents, and next friends for
ANDREW KENNEDY, a minor, AARON
KENNEDY, a minor, and ALAXANDRIA
KENNEDY, a minor; KATHRYN KOVALASKI,
individually, and MICHAEL FARRELL,
individually, and as parents, and next friends for
LAUREN FARRELL, a minor; DEBI KREBS,
individually, and KEN KREBS, individually, and as
parents, and next friends for SHANE KREBS, a
minor; and SHAWN KREBS, a minor;
KATHLEEN KUHN, individually, and as parent
and next friend for AMANDA GEORGE, a minor,
and DANIEL GEORGE, a minor, DEBORAH
LEACH, individually, and DANIEL LEACH,
individually, and as parents, and next friends for
JOSEPH LEACH, a minor; LAURA
LETCHWORTH, individually, and BRUCE
LETCHWORTH, individually, and as parents, and
next friends for LINDSEY LETCHWORTH, a
minor, BERNARD LETZINGER, individually, and
PATRICIA LETZINGER, individually, and as
parents, and next friends for JACKIE
LETZINGER, a minor; KELLY LINDSEY,
individually, and as parent, and next friend for
MICHAEL FLOOD, a minor, STEVEN
LINDSEY, a minor; and BRYANT LINDSEY, a
minor; GAIL LOCKE, individually, and as parent,
and next friend for AMANDA LOCKE, a minor,
STEVEN LOCKE, a minor, NATASHA LOCKE, a
minor, and JOHN LOCKE, a minor; PAMELA
LOUIS, individually, and RICHARD LOUIS,
individually, and as parents, and next friends for
DAVID LOUIS, a minor, ROBERT LOUIS, a
minor, and ANDREW LOUIS, a minor; KAY
MAHAR, individually, and JAMES MAHAR,
individually, and as parents, and next friends for
RYAN MAHAR, a minor, and TARA MAHAR, a
minor; CARLA MARCELLO, indiviudally, and as
parent, and next friend for ANGELA MARCELLO,
a minor; LISA MATHERS, individually, and
ERNIE MATHERS, individually, and as parents,
and next friends of

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BRITTANY MATHERS, a minor, CHASITY
MATHERS, a minor, and HARLEA MATHERS, a
minor; DWIGHT MATTHEWS, individually, and
SHERRY MATTHEWS, individually, and as
parents, and next friends of DERRICK
MATTHEWS, a minor, and KALEB
MATTHEWS, a minor; DIALNE MCCALL,
individually and as parent, and next friend of
DALLAS MCCALL, a minor, BETHANY
MCCALL, a minor, and ANGELA MCCALL,

a minor; JENNIFER MCCOURT, individually, and
as parent, and next friend for DAVID MORRISON,
a minor; MICHELLE MCDONALD, individually
and as parent, and next friend for TIFFANY
MCDONALD, a minor; HEATHER MCELWER,
individually, and as parent, and next friend for
AARON MCELWER, a minor, and CORY
MCELWER, a minor; ANTOINETTE
MCINTYRE, individually, and as parent, and next
friend for DANIEL KING, a minor, MATTHEW
KING, a minor, and TERESA KING, a minor;
ALYCE MCMANUS, individually, and MICHAEL
MCMANIUS, individually, and as parents, and next
friends for ALEX MCMANUS, a minor,
DOMINICK MCMANUS, a minor; MICHELLE
MERRIETT, individually, and BOBBY TAYLOR,
individually, and as parents, and next friends for
JAMES TAYLOR, a minor, and MICHAEL
MERRIETT, a minor; D. JUAL MOORE,
individually, and MARK MOORE, individually,
and as parents, and next friends for JACOB
WOLFF, a minor, and KARLIE WOLFF, a minor;
BARBARA MORRIS, individually, and as parent,
and next friend for CASSIE MORRIS, a minor;
EDITH MORRISON, individually, and as parent,
and next friend for SUSANNA MORRISON, a
minor, and ASHLEY MEANS, a minor; TONYA
MULLAN,

individually, and as parent, and next friend for
TABITHA MULLAN, a minor, KIRT MOORE, a
minor, and JEFFERY MULLAN, a minor;
DEBBRA NAVARRO, individually, and
PAULINO NAVARRO, individually, and as
parents, and next friends for JACINTO
NAVARRO, a minor; 8

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KIRSTINE NICKS, individually, and as parent, and
next friend for LEWIS PARKER, JR., a minor;
DONNA OGLETREE, individually, and as parent,
and next friend for RYAN OGLETREE, a minor;
FRED PECHE, individually, and ANGELA
PECHE, individually, and as parents, and next
friend for CHELSEA PECHE, a minor; ROBERT
PICKERING, individually, and as parent, and next
friend for ALLISON PICKERING, a minor;
RACHEL PRADO, individually, and as parent, and
next friend for TASHEENA AGUILERA, a minor,
and JOSE' AGUILERA JR., a minor; RICHY
PRATHER, individually, and GWEN PRATHER,
individually, and as parents, and next friends for
JENNIFER PRATHER, a minor; LISA PRICE,
individually, and SCOTT PRICE, individually, and
as parents, and next friend for CRYSTAL PRICE, a
minor, and TONY PRICE, a minor; RANDY
PYLE, individually, and PENNI PYLE,
individually, and as parents, and next friend for
ASHLEY PYLE, a minor, and RANDALL PYLE, a
minor; BRENDA RAYBORN, individually, and
TIMOTHY RAYBORN, individually, and as
parents, and next friends for JASON RAYBORN,
a minor, and CIANNA RAYBORN, a minor;
KATRINIA RAYBORN, individually, and KIM
RAYBORN, individually, and as parents, and next
friends for SELINA RAYBORN, a minor; J. PAUL
REVECS, individually, and as parent, and next
friend for JOHATHAN REVECS, a minor;
LARRY REIBSOME, individually, and MARGIE
REIBSOME, individually, and as parents, and next
friend for DIANE REIBSOME, a minor;
MICHELLE RICHARDS, individually, and
DOUGLAS RICHARDS, individually, and as
parents, and next friend for MITCHELL
RICHARDS, a minor, and MARIAH
RICHARDS, a minor; LEANNE RIMES,
individually, and as parent, and next friend for
BRITTANY RIMES, a minor; ALTA RODGERS ,
inidvidually, and MICHAEL RODGERS, SR.,
individually, and as parents, and next friends for
MICHAEL RODGERS, JR., a minor, and

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BRANDON RODGERS, a minor; ALLEN SALE,
individually, and as parent, and next friend for
CHRISTOPHER SALE, a minor, KIMBERLY
SANDERS, individually, and as parent, and next
friend f or JAMES SANDERS, a minor,
JOHNATHAN SANDERS, a minor, JOSEPH
SANDERS, a minor, and JEREMY SANDERS, a
minor; GLORIA SCOTT, individually, and
THOMAS SCOTT, individually, and as parents,
and next friends for JENNIFER SCOTT, a minor,
and CHRIS SCOTT, a minor; LEE SHIRA,
individually, and as parent, and next friend for
MICHELLE SHIRA, a minor; BRYAN SIDDELL,
individually, and as parent, and next friend for
CYNTHIA SIDDELL, a minor; REBECCA
SKINNER, individually, and as parent, and next
friend for KATLYN SKINNER, a minor; LARRY
SMITH, individually, and as parent, and next friend
for BEAU DEAVER, a minor; RENEE SMITH,
individually, and CHARLES SMITH, individually,
and as parents, and next friends for SARAH
SMITH, a minor; CHARLES SNELL, individually,
and SUSAN SNELL, individually, and as parents,
and next friends for JESSICA SNELL, a minor, and
DARRYL DODGE, a minor; ROBERT
SOLOMON JR., individually, and DEBRA
SOLOMON, individually, and as parents, and next
friend for BRANDY SOLOMOM, a minor, and
CARRIE SOLOMOM, a minor; STACEY
SPROUSE, individually, and MICHAEL
SPROUSE, individually, and as parents, and next
friends for LINDSEY JOHNSON, a minor,
SAMANTHA JOHNSON, a minor, and ASHLEY
SPROUSE, a minor; PAMELA STEFFEY,
individually, and NEWTON STEFFEY,
individually, and as parents, and next friends for
STEVEN STEFFEY, a minor, and AMBER
STEFFEY, a minor; TERRY STOELTON,
individually, and MARK STOELTON, individually,
and as parents, and next friends for DERRICK
STOELTON, a minor; IOLANTHE STOKES,
individually, and DAVID STOKES, individually,
and as parents, and next friends for PORTIA
FREMGEN, a minor,

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CRYSTAL WOOD, a minor, and LEAH STOKES,
aminor; KIMBERLY STRICKLAND,
individually, and as parent, and next friend for
AARON STRICKLAND, a minor, and SPENCER
STRICKLAND, a minor; ANNA SUTTER,
individually, and as parent, and next friend for
SARAH SUTTER, a minor, and DANNY
SUTTER, a minor; ALICE TALMADGO,
individually and as parent, and next friend for
STEPHANIE DEGROAT, a minor, and JAMIE
WROBEL, a minor; CHARLES TAYLOR SR.,
individually, and KATHRYN TAYLOR,
individually, and as parents, and next friend for
BRENDA TAYLOR, a minor, and CHARLES
TAYLOR JR., aminor; TIMOTHY TILLMAN,
individually, and MARIETTA TILLMAN,
individually, and as parents, and next friends for
NICHOLAS TILLMAN, a minor, AARON
TILLMAN, a minor, and SETH TILLMAN, a
minor; ANDREW TOOLE, individually, and
FRANCES TOOLE, individually, and as parents,
and next friends for JENIFER TOOLE, a minor, and
ANDREA TOOLE, a minor; JOHN TRIBUIANI,
individually, and JOAN TRIBUIANI, individually,
and as grandparents, and next friends for
CHRISTOPHER GOODSON, a minor,
STEPHANIE GOODSON, a minor, and JOSHUA
GOODSON, a minor; MICHAEL TRUAX,
individually, and CAROL TRUAX, individually,
and as parents, and next friends for KAYLA
TRUAX, a minor, GRANT TRUAX, a minor, and
BRITTNEY TRUAX, a minor, SHAWN TRUAX,
individually, and as parent, and next friend for
JESSICA TRUAX, a minor; THEODORE
VANDEVENDER, individually, and TAMMY
VANDEVENDER, individually, and as parents and
next friend for JAMES VANDEVENDER, a
minor, and LEEANNA VANDEVENDER, a minor;
ROSALIE VANDIVER, individually, and as parent,
and next friend for RACHEL VANDIVER, a minor;
KAREN VINYARD, individually, and STEVE
VINYARD, individually, and as parents, and next
friends for STEPHANIE BARDELL, a minor;

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THOMAS WAGNER, individually, and
KIMBERLY WAGNER, individually, and as
parents, and next friends for THOMAS WAGNER,
a minor; ELIZABETH WARE, individually, and
ANTHONY WARE, individually, and as parents,
and next friends for TERA HENDERSON, a
minor, MICHAEL HENERSON, a minor,
CHRISTOPHER HENDERSON, a minor, FLOYD
HENDERSON, a minor, and DION HENDERSON,
aminor; REGINA WEARE, individually and as
parent, and next friend for NICHOLAS WEARE, a
minor; CHARLES WEAVER, individually, and
TABETHA WEAVER, individually, and as parents,
and next friends for DEIDRA BRASWELL, a
minor, MEGHAN BRASWELL, a minor,
CHARLES WEAVER, a minor, and ALEXANDER
WEAVER, a minor, and MELANIE WEAVER, a
minor; ROBERT WEESE, individually, and
DARLENE WEESE, individually, and as parents,
and next friends for AMANDA AMANS, a minor,
and JAMES AMANS, a minor; KIMBERLY
WILKES, individually, and RICHARD WILKES,
individually, and as parents, and next _ friends for
RICHARD WILKES II, a minor, and ASHLEY
WILKES, a minor; DARLENE WILLIAMS,
individually, and ROBERT WILLIAMS,
individually, and as parents, and next friends for
ERIC WILLIAMS, a minor; SHERI WILLIAMS,
individually, and as parents, and next friend for
FRANK DENHAM, a minor, and JOSHUA
DENHAM, a minor; BRENDA WILSON,
individually, and as parent, and next friend for
SHANE WILSON, a minor; TERRA WILSON,
individually, and as parent, and next friend for
DANAE WILSON, a minor; TONYA WILSON,
individually, and as parent, and next friend for

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MATTHEW PUHAK, a minor.
Plaintiffs,

VS.

POLK COUNTY SCHOOL RPARD, A poilitical
subdivision of the State of Florida, and GLENN
REYNOLDS, in his official capacity as
Superintendent of the Polk County Schools,

Defendants.

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AMENDED L. T FOR INJUNCTIV!} LIEF
AND DEMAND FOR JURY TRIAL

COMES NOW, the Plaintiffs, by and through their undersigned attorney, and sue the
Defendants, request injunctive relief, demand a jury trial, and states as follows:

STATEMENT OF THE CASE

1. This is an action for damages, injunctive relief and declaratory relief to protect the
Plaintiffs' constitutional rights pursuant to the United States and Florida Constitutions, and to prevent
the Defendants’ from depriving the Plaintiffs under color of state law, ordinance, regulation, rule,
custom or usage their constitutional rights pursuant to the United States and Florida Constitutions,

as the result of the Defendants officially adopting and implementing a mandatory school uniform
dress code for Polk County public schools that is unconstitutional on its face and in its application.

PARTIES

2. Plaintiff Rosella Albrigo is an adult resident of Winter Hayen, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Timmy Hancock, a minor child, who is 11 years old, and is currently in
5th grade at Boswell Elementary School, and Logan Hancock, a minor child who is 10 years old,
and is currently in 4th grade at Boswell Elementary School, a Polk County Public School.

3. Plaintiff Cathy Ambrose is an adult resident of Lakeland, Polk County, Florida, a
parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Steve Battle is an adult resident of Lakeland, Polk County, Florida, a parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public school. They bring
this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and next
friend of Jesse Battle, a minor child, who is 12 years of age, and is currently in the 7th grade at
Crystal Lake Middle School, and Shannon Battle, a minor child , who is 9 years of age, and is
currently in the 4th grade at Cleveland Court Elementary School, a Polk County Public School.

4. Plaintiff Steve Ambrose is an adult resident of Polk City, Polk County, Florida, a
parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Palk County public schools.
Plaintiff Toni Ambrose is an adult resident of Polk City, Polk County, Florida, a parent of a child

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currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public school. They bring
this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and next
friend of Stefan Ambrose, a minor child, who is 10 years of age, and is currently in the Sth grade at
Lake Alfred Elementary Middle School, and Simon Ambrose, a minor child , who is 9 years of age,
and is currently in the 4th grade at Lake Alfred Elementary School, a Polk County Public School.

5. Plaintiff Penny Bailey is an adult resident of Mulberry, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Kenneth Bailey, a minor child, who is 11 years old, and is currently in 6th grade
at Mulberry Middle School, a Polk County Public School.

6. Plaintiff Michael Barton is an adult resident of Winter Haven, Polk County, Florida,
a parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Sally Barton is an adult resident of Winter Haven, Polk County, Florida, a parent
of a child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public school. They
bring this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and
next friend of Alicia Barton, a minor child, who is 13 years of age, and is currently in the 7h grade
at Denison Middle School, a Polk County Public School.

7. Plaintiff Leah Batson is an adult resident of Lake Wales, Polk County, Florida, a
parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Jay Batson is an adult resident of Lake Wales, Polk County, Florida, a parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public school. They
bring this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and
next friend of Andrew Batson, a minor child, who is 7 years of age, and is currently in the Ist grade
at Hillcrest Elementery School, and Kenneth Batson, a minor, who is 12 years old, and is currently
in the 6th grade at McLaughlin Middle School, a Polk County Public School.

8. Plaintiff James Beckett is an adult resident of Winter Haven, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as
Parent and next friend of Nikki Beckett, a minor child, who is 5 years old, and is currently in
Kindergarden at Lake Ship Elementary School, a Polk County Public School.

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9. Plaintiff Chalmas Bishop is an adult resident of Waverly, Polk County, Florida, a
parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Elizabeth Bishop is an adult resident of Walverly, Polk County, Florida, a parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public school. They bring
this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and next
friend of Chalmas Bishop, a minor child, who is 9 years of age, and is currently in the 4th grade at
Janie Howard Elementary School, a Polk County Public School.

10. Plaintiff Charles Bondy is an adult resident of Lake Wales, Polk County, Florida, a
parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Nadaja Bondy is an adult resident of Lake Wales, Polk County, Florida, a parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public school. They bring
this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and next
friend of Angel Bondy, a minor child, who is 5 years of age, and is currently in Kindergarden at
J.H.W. Elementary School, a Polk County Public School.

11. Plaintiff Samantha Bonilla is an adult resident of Arburndale, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Rene’ Bonilla, a minor child, who is 9 years old, and is currently in the
4th grade at Arburndale Central Elementary School, a Polk County Public School.

12. Plaintiff Victoria Boomer is an adult resident of Winter Haven, Polk County,
Florida, a parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this
lawsuit as parent and next friend of Joshua Boomer, a minor child, who is 9 years of age, and is
currently in the 3rd grade at Garner Elementery School, John Bosch, a minor child , who is 9 years
of age, and is currently in the 4th grade at Medulla Elementary School, and Bridget Bosch, a minor
child, who is 7 years of age, and is currently in Ist grade at Medulla Elementary School, a Polk
County Public School.

13. Plaintiff Robert Bosch is an adult resident of Lakeland, Polk County, Florida, a
parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as
parent and next friend of Robert Bosch, a minor child, who is 11 years of age, and is currently in the
6th grade

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at South West Middle School, John Bosch, a minor child , who is 9 years of age, and is currently
in the 4th grade at Medulla Elementary School, and Bridget Bosch, a minor child, who is 7 years of
age, and is currently in Ist grade at Medulla Elementary School, a Polk County Public School.

14. Plaintiff Richard Bracewell is an adult resident of Lakeland, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as
Parent and next friend of Dustin Bracewell, a minor child, who is 13 years old, and is currently in
the 8th grade at Lake Gibson Middle School, a Polk County Public School.

15. Plaintiff David Brown is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as
Parent and next friend of Amanda Brown, a minor child, who is 12 years old, and is currently in the
7th grade at Bartow Middle School, and Ariel Brown, a minor child, who is 7 years of age, and is
currently in the 2nd grade at Highland City Elementary, a Polk County Public School.

16. Plaintiff Wandy Byrd is an adult resident of Winter Haven, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Adam Byrd, a minor child, who is 10 years old, and is currently in the
5th grade at Eagle Lake Elementary School, a Polk County Public School.

17. Plaintiff Heidi Childs is an adult resident of Auburndale, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools, and Plaintiff Rollie Childs is an adult resident of Auburndale, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They brings this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit
as Parents and next friend of Katie Childs, a minor child, who is 10 years old, and is currently in the
Sth grade at Boswell Elementary School, and Scott Childs, a minor, who is 8 years old, and is
currently in the 3rd grade at Boswell Elementery School, a Polk County Public School.

18. Plaintiff Patricia Clark is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Pdlk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Bradford Clark, a minor child, who is 7 years old, and is currently in the 2nd
grade at Crystal Lake Elementary School, a Polk County Public School.

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19. Plaintiff Vicki Cloaninger is an adult resident of Mulberry, Polk County, Florida, a
parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Michael Cloaninger is an adult resident of Mulberry, Polk County, Florida, a parent of a
child currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public school. They bring
this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and next
friend of Joshua Cloaninger, a minor child, who is 11 years of age, and is currently in 5th grade at
Puncell Elementary School, a Polk County Public School.

20. Plaintiff Karen Cochran is an adult resident of Lakeland, Polk County, Florida, a
parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Charles Cochran is an adult resident of Lakeland, Polk County, Florida, a parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public school. They bring
this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as parents and next
friend of Timothy Thomas, a minor child, who is 7 years of age, and is currently in 2nd grade at
Winston Elementary School, a Polk County Public School.

21. Plaintiff Robert Cochran is an adult resident of Polk City, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as Parent and
next friend of Trevor Cochran, a minor child, who is 12 years old, and is.currently in the 7th grade
at Lake Alfred Middle School, and Heaven Cochran, a minor child, who is 8 years of age, and is
currently in the 2nd grade at leanavista Elementary, a Polk County Public School.

22. Plaintiff John Crosano is an adult resident of Winter Haven, Polk County, Florida,
a parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Catherine Crosano is an adult resident of Winter Haven, Polk County, Florida, a
parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
school. They bring this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit
as parents and next friend of Loren Crosano, a minor child, who is 15 years of age, and is currently
in 8th grade at West Wood Middle School, and Holly Crosano, a minor child, who is 12 years of
age, and is currently in the 5th grade at Ganner Elementary School, a Polk County Public School.

23. Plaintiff Tracy Crossno is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, an(i taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit

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as Parent and next friend of Patrick Crossno, a minor child, who is 8 years old, and is currently in
the 3rd grade at Highland City Elementary School, Miranda Singletary a minor child, who is 10
years of age, and is currently in the Sth grade at Highland City Elementary School, and Michael
Singletary, a minor child, who is 11 years of age, and is currently in the 6th grade at Bartow Middle
School, a Polk County Public School.

24. Plaintiff Myra Cullaton is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Brian Cullaton is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Hank Hussy, Jr., a minor child, who is 13 years old, and is currently in the 8th
grade at Stambaugh Middle School, and Jordan Hussy a minor child, who is 6 years of age, and is
currently in the 1st grade at Lena Vista Elementary, a Polk County Public School.

25. Plaintiff April Cummins is an adult resident of Davenport, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff John Cummins is an adult resident of Davenport, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of John Cummins, a minor child, who is 11 years old, and is currently in the 6th
grade at Boone Middle School, Matthew Cummins, a minor child, who is 9 years of age, and is
currently in the 3rd grade at Loughman Oaks Elementary School, Nicholas Cummins, a minor
child, who is 7 years of age, and is currently in the 1st grade at Loughman Oaks Elementary School,
and Amber Cummins, a minor child, who is 5 years of age, and is currently in Kindergarden at
Loughman Oaks Elementary School, a Polk County Public School.

26. Plaintiff Terri Dalpe is an adult resident of Winter Haven, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Ronald Dalpe is an adult resident of Winter Haven, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit
as Parent's and next friend of Emily Dalpe, a minor child, who is 13 years old, and is currently in
the 8th grade at West Wood Middle School, and Amber Dalpe, a minor child, who is 9 years of
age, and is currently in the 4th grade at Garner Elementary School, a Polk County Public
School.

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27. Plaintiff Charles DeFelice is an adult resident of Winter Haven, Polk County,

Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Danielle DeFelice is an adult resident of Winter Haven, Polk County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this
lawsuit as Parent's and next friend of Athena DeFelice, a minor child, who is 9 years old, and is
currently in the 4th grade at Garner Elementary School, and Michael DeFelice, a minor child, who
is 7 years of age, and is currently in the Ist grade at Garner Elementary School, a Polk County
Public School.

28. Plaintiff Irene Dennis is an adult resident of Waverly, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. She
brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent and
next friend of Amanda Dennis, a minor child, who is 10 years old, and is currently in the 5th grade
at Hillcrest Elementary School, Amber Dennis, a minor child, who is 9 years of age, and is currently
in the 4th grade at Hillcrest Elementary School, Christopher Dennis, a minor child, who is 7 years
of age, and is currently in the 2nd grade at Hillcrest Elementary, and Amy Dennis, a minor child,
who is 6 years of age, and is currently in Kindergarden at Hillcrest Elementary, a Polk County
Public School.

29. _— Plaintiff Julie Doll is an adult resident of Highland City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools, Plaintiff Mark Doll is an adult resident of Highland City, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parent's
and next friend of Mara Doll, a minor child, who is 10 years old, and is currently in the 4th grade
at Highland City Elementary School, and Amanda Doll, a minor child, who is 5 years of age, and
is currently in Kindergarden at Highland City Elementary School, Billy Yates, a minor child, who
is 11 years of age and is currently in the 5th grade at Highland City Elementary School, and Kaleb
Yates, a minor child, who is 10 years of age, and is currently in the 4th grade at Stephens Elementary
School, a Polk County Public School.

30. ‘Plaintiff Amber Driggers is an adult resident of Bartow, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Palk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Desmond Driggers, a minor child, who is 4 years old, and is currently in Pre-
Kindergarden at Alturas Elementary School, a Polk County Public School.

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31. Plaintiff Elizabeth Earls is an adult resident of Winter Haven, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Timothy Earls is an adult resident of Winter Haven, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit
as Parent's and next friend of Karl Earls, a minor child, who is 10 years old, and is currently in the
5th grade at Inwood Elementary School, and Ashley Earls, a minor child, who is 8 years of age,
and is currently in the 3rd grade at Inwood Elementary School, a Polk County Public
School.

32. Plaintiff Bridget Edwards is an adult resident of Lakeland, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Steven Edwards is an adult resident of Lakeland, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parent's and
next friend of Stephanie Edwards, a minor child, who is 5 years old, and is currently in
Kindergarden at Wendell Elementary School, a Polk County Public School.

33. Plaintiff Paul Elwing is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Adair Elwing is an adult resident of Lakeland, Polk County, Florida, a Parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parent's and next
friend of Andrew Elwing, a minor child, who is 13 years old, and is currently in the 8th grade at
Sleepyhill Middle School, a Polk County Public School.

34. Plaintiff Jayne Ewen is an adult resident of Winter Haven, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of R.J. Ewen, a minor child, who is 9 years old, and is currently in the Sth
grade at Elbert Elementary School, and Jessica Ewen, a minor child, who is 7 years of age, and is
currently in the 2nd grade at Elbert Elementary School, a Polk County Public School.

35. Plaintiff RoseMary Farrell is an adult resident of Lakeland, Polk County, Florida,

a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as

spent by the Polk County School Board and its agents in the operation of the Polk County public

schools. Plaintiff Robert Farrell is an adult resident of Lakeland, Polk County, Florida, a Parent
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of children currently attending a Polk County public school, and taxpayer, whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Robert Farrell Jr., a minor child, who is 10 years old, and is currently in the Sth
grade at Dixieland Elementary School, Christine Farrell, a minor child, who is 8 years of age, and
is currently in the 3rd grade at Dixieland Elementary School, and Barbara Farrell, a minor child, who
is 6 years of age, and is currently in the 1st grade at Dixieland Elementary School, a Polk County
Public School.

36. Plaintiff Regina Ford is an adult resident of Lake Hamilton, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Amanda Ford, a minor child, who is 12 years old, and is currently in
the 7th grade at Dundee Middle School, Christa Ford, a minor child, who is 11 years of age, and is
currently in the 5th grade at Alta Vista Elementary School, and Selena Ford, a minor child, who is
9 years of age, and is currently in the 2nd grade at Alta Vista Elementary School, a Polk County
Public School.

37. Plaintiff Bryan Fasher is an adult resident of Bartow, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. He
brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as Parent and
next friend of Cassie Frasher, a minor child, who is 13 years old, and is currently in the 7th grade
at Bartow Middle School, Bryan Frasher, a minor child, who is 13 years of age, and is currently in
the 7th grade at Bartow Middle School, Charies Frasher, a minor child, who is 6 years of age, and
is currently in Kindergarden at Bartow Elementary School, and Danielle Frasher, a minor, who is
4 years old, and is currently in Pre-Kindergarden at Bartow Elementary School, a Polk County
Public School.

38. Plaintiff Kristina Frasher is an adult resident of Bartow, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Bryan Frasher is an adult resident of Bartow, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Cassie Frasher, a minor child, who is 13 years old, and is currently in the 8th grade
at Bartow Middle School, Bryan Frasher, Jr., a minor child, who is 7 years of age, and is currently
in the 1st grade at Gibbons Street Elementary School, Charles Frasher, a minor child, who is 5 years
of age, and is currently in Kindergarden at Gibbons Street Elementary School, and Danielle Frasher,
a minor child, who is 4 years of age, and is currently in Pre-Kindergarden at Gibbons Street
Elementary School, a Polk County Public School.

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39. Plaintiff Susanne Gardnes is an adult resident of Haines City, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Rachel Morris, a minor child, who is 11 years old, and is currently in
the 5th grade at Eastside Elementary School, a Polk County Public School.

40. Plaintiff Rhonda Garrett is an adult resident of Polk City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff James Garrett is an adult resident of Polk City, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Justin Zink, a minor child, who is 8 years old, and is currently in the 2nd grade
at Polk City Elementary School, and Miranda Garrett, a minor child, who is 7 years of age, and is
currently in the 1st grade at Polk City Elementary School, a Polk County Public School.

41.‘ Plaintiff Mariam Gatlin is an adult resident of Bartow, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation ef the Polk County public
schools. Plaintiff Baylis Gatlint is an adult resident of Bartow, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Carol Holliday, a minor child, who is 13 years old, and is currently in the 8th grade
at Bartow Middle School, Daryl Holliday, a minor child, who is 10 years of age, and is currently in
the Sth grade at Eagle Lake Elementary School, and Joseph Touchstone, a minor child, who is 11
years of age, and is currently in the 6th grade at Westwood Middle School, a Polk County Public
School.

42. Plaintiff Melissa Gay is an adult resident of Bartow, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. She
brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent and
next friend of Michael Gay, Jr., a minor child, who is 8 years old, and is currently in the 3rd grade
at Floral Ave. Elementary School, a Polk County Public School.

43. Plaintiff Cori Gilileo is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Michael Gilileo, Sr. is an adult resident of Lakeland, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the

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Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Michael Gilileo, Jr., a minor child, who is 9 years old, and is currently in the 3rd
grade at Lime Street Elementary School, and Caitlin Gilileo, a minor child, who is 8 years of age,
and is currently in the 3rd grade at Lime Street Elementary School, a Polk County Public School.

44. Plaintiff Mark Gill is an adult resident of Lakeland, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. She
brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent and
next friend of Tracie Gill, a minor child, who is 14 years old, and is currently in the 8th grade at
Kathleen Middle School, a Polk County Public School.

45. Plaintiff Charles Gillstrap is an adult resident of Plant City, Hillsborough County,
Florida, a Grandparent of a child currently attending a Polk County public school, and taxpayer
whose taxes as spent by the Polk County School Board and its agents in the operation of the Polk
County public schools. He brings this lawsuit as an individual, taxpayer and grandparent, he also
brings this lawsuit as grandparent and next friend of Leighton Warren, a minor child, who is 6
years old, and is currently in Kindergarden at Doris Sanders Learinging Center, a Polk County
Public School.

46. Plaintiff Joanne Gilmore is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Douglas Gilmore is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Lisa Gilmore, a minor child, who is 13 years old, and is currently in the 8th grade
at Kathleen Middle School, and Amy Gilmore, a minor child, who is 11 years of age, and is
currently in the 6th grade at Kathleen Middle School, a Polk County Public School.

47. Plaintiff Karen Gogdin is an adult resident of Lake Alfred, Polk County, Florida,
a Parent of achild currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Jennifer Ard, a minor child, who is 11 years old, and is currently in
the 6th grade at Lake Alfred Middle School, a Polk County Public School.

48. ‘Plaintiff Katherine Goodwin is an adult resident of Highland City, Polk County,
Florida, a Parent of children currently attending a Polk County public s¢hool, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Jimmy Goodwin is an adult resident of Highland City, Polk County,

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Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this
lawsuit as Parents and next friend of Jimmy Goodwin, a minor child, who is 12 years old, and is
currently in the 6th grade at Bartow Middle School, Bobby Goodwin, a minor child, who is 11 years
of age, and is currently in the 4th grade at Highland City Elementary School, Matthew Goodwin, a
minor child, who is 9 years of age, and is currently in the 2nd grade at Highland City Elementary
School, and Thomas Goodwin, a minor child, who is 7 years of age, and is currently in the Ist grade
at Highland City Elementary School, a Polk County Public School.

49. Plaintiff Marilyn Gorum is an adult resident of Bartow, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Danny Gorum is an adult resident of Bartow, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Cory Siegesmund, a minor child, who is 9 years old, and is currently in the 3rd grade
at Gibbons Elementery School, and Danny Gorum, a minor child, who is 6 years of age, and is
currently in Kindergarden at Gibbons Street Elementery School, a Polk County Public School.

50. Plaintiff Maureen Goodwin is an adult resident of Lakeland, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Wayne Goodwin is an adult resident of Lakeland, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Jessica Barber, a minor child, who is 8 years old, and is currently in the 3rd grade
at Crystal Lake Elementary School, a Polk County Public School.

51. Plaintiff Jacquelyn Graham is an adult resident of Bartow, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of De'Ashley Graham, a minor child, who is 9 years old, and is currently
in the 3rd grade at Stephens Elementary School, and Jona’cee Derick, a minor child, who is 5 years
of age, and is currently in Kindergarden at Stephens Elementary School, a Polk County Public
School.

52. Plaintiff Donna Hager is an adult resident of Winter Haven, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public

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schools. Plaintiff Robert Hager is an adult resident of Winter Haven, Polk County, Florida, a
Parent of achild currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit
as Parents and next friend of Robin Hager, a minor child, who is 14 years old, and is currently in
the 8th grade at Westwood Middle School, a Polk County Public School.

53. Plaintiff Laura Haines is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She bring this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as
Parent and next friend of Jessica Haines, a minor child, who is 11 years old, and is currently in the
5th grade at Lime Street Elementary School, Victoria Haines, a minor child, who is 8 years old, and
is currently in the 3rd grade at Lime Street Elementary School, Bradley Haines, a minor child, who
is 7 years of age, and is currently in the 2nd grade at Lime Street Elementary School, and Stephan
Haines, a minor child, who is 7 years of age, and is currently in the 2nd grade at Lime Street
Elementary School, a Polk County Public School.

54. Plaintiff Robbin Hamilton is an adult resident of Lakeland, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Clete Hamiltonis an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Chantal Hamilton, a minor child, who is 11 years old, and is currently in the 6th
grade at Kathleen Middle School, and Skylar Hamilton, a minor child, who is 5 years old, and is
currently in Kindergarden at Socurme Elementary School, a Polk County Public School.

55. Plaintiff Angel Harris is an adult resident of Bartow, Polk County, Florida, a Parent
ofa child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. She
brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent and
next friend of Heather Harris, a minor child, who is 11 years old, and is currently in the Sth grade
at Floral Ave. Elementary School, a Polk County Public School.

56. Plaintiff Dorinda Harris is an adult resident of Auburndale, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff James Harris an adult resident of Auburndale, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and

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next friend of Megan Odom, a minor child, who is 9 years old, and is currently in the 4th grade at
Lena Vista Elementery School, and Casey Odom, a minor child, who is 6 years old, and is currently
in the Ist grade at Lena Vista Elementery School, a Polk County Public School.

57. Plaintiff Sharie Hayes is an adult resident of Ft. Meade, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Brittany Hayes, a minor child, who is 5 years old, and is currently in
Kindergarden at Lewis Elementary School, Steven Titus, a minor child, who is 8 years old, and is
currently in the 2nd grade at Lewis Elementary School, and Melissa Titus, a minor child, who is 9
years old, and is currently in the 3rd grade at Lewis Elementary School, a Polk County Public
School.

58. Plaintiff Mark Hemming is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County Schoo! Board and its agents in the operation of the Polk County public
schools. Plaintiff Theresa Hemming is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Raymond Hemming, a minor child, who is 8 years old, and is currently in the 3rd
grade at Carlton Palmore Elementary School, Kristen Sizemore, a minor child, who is 10 years old,
and is currently in the Sth grade at Carlton Palmore Elementary School, and Tierra Wienoid, a minor
child, who is 12 years old, and is currently in the 7th grade at Lakeland Highland Middle School,
a Polk County Public School.

59. Plaintiff Craig Hill is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Wilma Hill is an adult resident of Lakeland, Polk County, Florida, a Parent of children
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Craig Hill Jr., a minor child, who is 13 years old, and is currently in the 8th grade at
Kathleen Middle School, Jennifer Hill, a minor child, who is 12 years old, and is currently in the
7th grade at Kathleen Middle School, and Joshua Hill, a minor child, who is 7 years old, and is
currently in the 2nd grade at Socrum Elementary School, a Polk County Public School.

60. Plaintiff Contina Hiliman is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Dwayne Williams is an adult resident of Lakeland, Polk County, Florida, a Parent

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of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Desiray Williams, a minor child, who is 6 years old, and is currently in the 1st
grade at Combee Elementary School, and Dwayne Rentz, a minor child, who is 8 years old, and is
currently in the 3rd grade at Jewitt Elementary School, a Polk County Public School.

61. Plaintiff Shirley Hilson is an adult resident of Winter Haven, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Mary Ann Franklin, a minor child, who is 6 years old, and is currently
in the 1st grade at Garner Elementary School, and Jerry Hilson, a minor child, who is 4 years old,
and is currently in Pre-Kindergarden at Garner Elementary School, a Polk County Public School.

62. Plaintiff Lisa Hitt is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Bruce Hitt is an adult resident of Lakeland, Polk County, Florida, a Parent of children
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Michael Ranauro, a minor child, who is 14 years old, and is currently in the 8th grade at
Kathleen Middle School, Michelle Ranauro, a minor child, who is 12 years old, and is currently in
the 6th grade at Kathleen Middle School, Katie Ranauro, a minor child, who is 9 years of age, and
is currently in the 4th grade at Kathleen Elementary School, Molly Ranauro, a minor child, who is
8 years old, and is currently in the 2nd grade at Kathleen Elementary School, and Tyler Ranauro, a
minor child, who is 5 years of age, and is currently in Kindergarden at Kathleen Elementary School,
a Polk County Public School.

63. Plaintiff Sandra Hockney is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Laymon Hackney is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Tara Preast, a minor child, who is 12 years old, and is currently in the 7th grade
at Southwest Elementary School, and Gary Preast, a minor child, who is 9 years old, and is currently
in the 2nd grade at Medulla Elementary School, a Polk County Public School.

64. Plaintiff Sharon Hornsby is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as

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spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Frederic Hornsby Jr. is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit
as Parents and next friend of Frederic Hornsby III, a minor child, who is 9 years old, and is currently
in the 3rd grade at Scott Lake Elementary School, and Julie Hornsby, a minor child, who is 11 years
old, and is currently in the Sth grade at Scott Lake Elementary School, a Polk County Public
School.

65. Plaintiff Daniel Howell is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Tiffany Howell. is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Corey Goble, a minor child, who is 13 years old, and is currently in the 8th grade
at Lake Gibson Middle School, and Coty Goble, a minor child, who is 10 years old, and is currently
in the 5th grade at Edgar Padgett Elementary School, a Polk County Public School.

66. Plaintiff Paul Howell is an adult resident of Lakeland, Polk County, Florida, a Parent
ofa child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. He
brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as Parent and
next friend of Kristy Howell, a minor child, who is 13 years old, and is currently in the 7th grade
at Sleepy Hill Middle School, a Polk County Public School.

67. __ Plaintiff Holly Huffman is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Brandon Huffman, a minor child, who is 12 years old, and is currently
in the 7th grade at Lake Alfred Middle School, and Brittany Huffman, a minor child, who is 10 years
old, and is currently in the Sth grade at Polk City Elementary School, a Polk County Public
School.

68. Plaintiff April Huggins is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff James Huggins is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.

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They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of James Hugins, a minor child, who is 12 years old, and is currently in the 7th
grade at Crystal Lake Middle School, and Gary Huggins, a minor child, who is 9 years old, and is
currently in the 2nd grade at O.J. Pope Elementary School, a Polk County Public School.

69. _ Plaintiff Christopher Hughes is an adult resident of Winter Haven, Polk County,
Florida, a Parent of a child currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Debora Hughes is an adult resident of Winter Haven, Polk County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this
lawsuit as Parents and next friend of Jeremy Hughes, a minor child, who is 13 years old, and is
currently in the 8th grade at Denison Middle School, a Polk County Public School.

70. Plaintiff David Hunt is an adult resident of Lakeland, Polk County, Florida, a Parent
of a child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. He
brings this lawsuit as an individual, taxpayer and parent, He also brings this lawsuit as Parent and
next friend of Mary Hunt, a minor child, who is 5 years old, and is currently in the Ist grade at
Stephens ElementerySchool, a Polk County Public School.

71. Plaintiff James Jenkins is an adult resident of Haines City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Pamela Jenkins is an adult resident of Haines City, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Ashley McCoy, a minor child, who is 11 years old, and is currently in the 6th
grade at Dundee Middle School, and Charles McCoy, a minor, who is 13 years of age, and is
currently in the 7th grade at Roosvelt Acadamy School, a Polk County Public School.

72. Plaintiff Loraina Johnson is an adult resident of Lake Wales, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff William Stokes. is an adult resident of Lake Wales, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as
Parents and next friend of Leila Johnson, a minor child, who is 6 years old, and is currently in the
lst grade at Janie Wilson Elementary School, a Polk County Public School.

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73. Plaintiff Richard Joyce, Jr. is an adult resident of Lake Wales, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Melissa Mann is an adult resident of Lake Wales, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parents, they also bring this lawsuit as Parents
and next friend of Ashley Mann, a minor child, who is 11 years old, and is currently in the 6th grade
at McLaughlin Middle School, and Brandon Joyce, a minor, who is 6 years old, and is currently in
the Ist grade at Hillcrest Elementery, a Polk County Public School.

74. Plaintiff Beth Keigans is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Raymond Keigans is an adult resident of Lakeland, Polk County, Florida, a Parent of a
child currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Sarah Keigans, a minor child, who is 11 years old, and is currently in the 6th grade at
Crystal Lake Middle School, a Polk County Public School.

75. Plaintiff Rosalie Kelley is an adult resident of Polk City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Bobby Kelley is an adult resident of Polk City, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Christopher Kelley, a minor child, who is 8 years old, and is currently in the 2nd grade
at Polk City Elementary School, Jessica Kelley, a minor, who is 9 years old, and is currently in the
4th grade at Polk City Elementary School, and Bobby Kelley Jr., a minor, who is 13 years of age,
and is currently in the 8th grade at Lake Alfred Middle School, a Polk County Public School.

76. Plaintiff Armanda Kelly is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Robert Kelly is an adult resident of Lakeland, Polk County, Florida, a Parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Katherine Kelly, a minor child, who is 6 years old, and is currently in the Ist grade at
Combee Elementary School, a Polk County Public School.

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77. Plaintiff Keenon Kelly is an adult resident of Mulberry, Polk County, Florida, a

Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Holly Kelly is an adult resident of Mulberry, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of John Kelly, a minor child, who is 10 years old, and is currently in the 5th grade at
Purcell Elementary School, and Elizabeth Kelly, a minor, who is 13 years old, and is currenly in the
7th grade at Mulberry Middle School, a Polk County Public School.

78. Plaintiff Alvis Kennedy is an adult resident of Winter Haven, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff A.V. Kennedy is an adult resident of Winter Haven, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit
as Parents and next friend of Andrew Kennedy, a minor child, who is 14 years old, and is currently
in the 8th grade at Westwood Middle School, Aaron Kennedy, a minor, who is 13 years old, and is
currenly in the 7th grade at Westwood Middle School, and Alaxandria Kennedy, a minor, who is
9 years old, and is currenlty in the 5th grade at Garner Elementery School, a Polk County Public
School.

79. ‘Plaintiff Kathryn Kovalaski is an adult resident of Lake Wales, Polk County,
Florida, a Parent of a child currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Michael Farrell is an adult resident of Lake Wales, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit
as Parents and next friend of Lauren Farrell, a minor child, who is 11 years old, and is currently in
the 5th grade at Polk Avenue Elementary School, a Polk County Public School.

80. Plaintiff Debi Krebs is an adult resident of Davenport, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Ken Krebs is an adult resident of Davenport, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Shane Krebs, a minor child, who is 13 years old, and is currently in the 8th grade at
Boone Middle School, and Shawn Krebs, a minor, who is 10 years old, and is currently in the 5th

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grade at Loughman Oaks Elementary School, a Polk County Public School.

81. Plaintiff Kathleen Kuhn is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Amanda George, a minor child, who is 13 years old, and is currently
in the 7th grade at Southwest Middle School, and Daniel George, a minor, who is 11 years old, and
is currently in the 5th grade at Lime Street Elementary School, a Polk County Public School.

82. Plaintiff Deborah Leach is an adult resident of Davenport, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Daniel Leach is an adult resident of Davenport, Polk County, Florida, a Parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Joseph Leach, a minor child, who is 11 years old, and is currently in the 6th grade at
Boone Middle School, a Polk County Public School.

83. Plaintiff Laura Letchworth is an adult resident of Kathleen, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Bruce Letchworth is an adult resident of Kathleen, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Lindsey Letchworth, a minor child, who is 5 years old, and is currently in
Kindergarden at Kathleen Elementary School, a Polk County Public School.

84. Plaintiff Bernard Letzinger is an adult resident of Lakeland, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Patricia Letzinger is an adult resident of Lakeland, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Jackie Letzinger, a minor child, who is 9 years old, and is currently in ESE 3rd grade
at Churchwell Elementary School, a Polk County Public School.

85. Plaintiff Kelly Lindsey is an adult resident of Lakeland, Polk County, Florida, a

Parent of children currently attending a Polk County public school, and taxpayer whose taxes as

spent by the Polk County School Board and its agents in the operation of the Polk County public

schools. She brings this lawsuit as an individual, taxpayer and parent,she also brings this lawsuit
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as Parent and next friend of Michael Flood, a minor child, who is 11 years old, and is currently in
7th grade at Lake Gibson Middle School, Steven Lindsey, a minor, who is 9 years old, and is
currently in the 4th grade at Wendall Watson Elementary School, and Bryant Lindsey, a minor, who
is 6 years old, and is currently in the Ist grade at Wendall Watson Elementary School, a Polk
County Public School.

86. Plaintiff Gail Lacke is an adult resident of Bartow, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. She
brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent and
next friend of Amanda Locke, a minor child, who is 13 years old, and is currently in 8th grade at
Bartow Middle School, Steven Locke, a minor, who is 12 years old, and is currently in the 7th grade
at Bartow Middle School, Natasha Locke, a minor, who is 11 years old, and is currently in the 5th
grade at Alturas Elementary School, and John Locke, a minor, who is 9 years old, and is currently
in the 4th grade at Alturas Elementary School, a Polk County Public School.

87. Plaintiff Richard Louis is an adult resident of Winter Haven, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Pamela Louisis an adult resident of Winter Haven, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of David Louis, a minor child, who is 10 years old, and is currently in 2nd grade
at Lake Ship Elementery School, Robert Louis, a minor, who is 9 years old, and is currently in the
2nd grade at Lake Ship Elementery School, and Andrew Louis, a minor, who is 8 years old, and is
currently in Kindergarden at Lake Ship Elementary School, a Polk County Public School.

88. Plaintiff Kay Mahar is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff James Mahar is an adult resident of Lakeland, Polk County, Florida, a Parent of children
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Ryan Mahar, a minor child, who is 13 years old, and is currently in 8th grade at Capital
Lake Middle School, and Tara Mahar, a minor, who is 10 years old, and is currently in the 5th grade
at Combee Elementery School, a Polk County Public School.

89. Plaintiff Carla Marcello is an adult resident of Lake Wales, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit

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as Parent and next friend of Angela Marcella, a minor child, who is 14 years old, and is currently
in 8th grade at McLaughlin Middle School, a Polk County Public School.

90. Plaintiff Lisa Mathers is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Emie Mathers is an adult resident of Lakeland, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Brittany Mathers, a minor child, who is 12 years old, and is currently in 7th grade at
Lakeland Middle School, Chasity Mathers, a minor, who is 10 years old, and is currently in the 4th
grade at Carlton Palmore Elementery School, and Harlea Mathers, a minor, who is 8 years old, and
is currently in the 3rd grade at Scott Lake Elementery School, a Polk County Public School.

91. Plaintiff Dwight Matthews is an adult resident of Lakeland, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Sherry Matthews is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Derrick Matthews, a minor child, who is 8 years old, and is currently in 2nd
grade at Scott Lake Elementery School, and Kaleb Matthews, a minor, who is 7 years old, and is
currently in the 2nd grade at Scott Lake Elementery School, a Polk County Public School.

92. Plaintiff Dialne McCall is an adult resident of Winter Haven, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Dallas McCall, a minor child, who is 10 years old, and is currently in
5th grade at Lake Ship Elementery School, and Bethany McCall, a minor, who is 11 years old, and
is currently in the 6th grade at Westwood Middle School, and Angela McCall, a minor, who is 13
years old, and is currently in the 8th grade at Westwood Middle School, a Polk County Public
School.

93. Plaintiff Jennifer McCourt is an adult resident of Lakeland, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of David Morrison Jr., a minor child, who is 8 years old, and is currently
in 2nd grade at Griffin Elementery School, a Polk County Public School.

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94. Plaintiff Michelle McDonald is an adult resident of Haines City Polk County,
Florida, a Parent of a child currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this
lawsuit as Parent and next friend of Tiffany McDonald, a minor child, who is ? years old, and is
currently in lst grade at Alta Vista Elementery School, a Polk County Public School.

95. Plaintiff Heather McElIwer is an adult resident of Haines City Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Aaron McElwer, a minor child, who is 9 years old, and is currently
in 4th grade at Polk City Elementery School, and Cory McElwer, a minor, who is 5 years old, and
is currenly in Kindergarden at Polk City Elementery, a Polk County Public School.

96. Plaintiff Antoinette McIntyre is an adult resident of Haines City Polk County,
Florida, a Parent of a child currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this
lawsuit as Parent and next friend of Daniel King, a minor child, who is 13 years old, and is
currently in 7th grade at Crystal Lake Middle School, Matthew King, a minor, who is 11 years old,
and is currenly in the 4th grade at Southwest Elementery, and Teresa King, a minor, who is 8 years
old, and is currenlty in the 2nd grade at Southwest Elementery School, a Polk County Public
School.

97. Plaintiff Alyce McManus is an adult resident of Poinciana Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Michael McManus is an adult resident of Poinciana Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Alex McManus, a minor child, who is 11 years old, and is currently in 6th grade at
Dundee Ridge Middle School, and Dominick McManus, a minor, who is 5 years old, and is currenly
in Kindergarden at Eastside Elementery, a Polk County Public School.

98. Plaintiff Michelle Merriett is an adult resident of Lakeland Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Bobby Taylor is an adult resident of Lakeland, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and

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next friend of James Taylor, a minor child, who is 5 years old, and is currently in Kindergarden
at Southwest Elementery School, and Michael Merriett, a minor, who is 10 years old, and is currenly
in the Sth grade at Southwest Elementery, a Polk County Public School.

99. Plaintiff D. Jual Moore is an adult resident of Polk City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Mark Moore is an adult resident of Polk City, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Jacob Wolff, a minor child, who is 9 years old, and is currently in the 4th grade at
Polk City Elementery School, and Karlie Wolff, a minor, who is 6 years old, and is currenly in the
Ist grade at Polk City Elementery, a Polk County Public School.

100. Plaintiff Barbara Morris is an adult resident of Bartow, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Cassie Morris, a minor child, who is 9 years old, and is currently in the 4th grade
at Alturas Elementery School, a Polk County Public School.

101. Plaintiff Tonya Mullan is an adult resident of Haines City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Tabitha Mullan, a minor child, who is 11 years old, and is currently in
the 6th grade at Boone Middle School, Kirt Moore, a minor, who is 12 years old, and is currently in
the 7th grade at Boone Middle School, and Jeffrey Mullan, a minor, who is 6 years old, and is
currently in the 2nd grade at Eastside Elementery School, a Polk County Public School.

102. Plaintiff Debbra Navarro is an adult resident of Haines City, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Paulino Navarro is an adult resident of Haines City, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Jacinto Navarro, a minor child, who is 13 years old, and is currently in the 8th grade
at Boone Middle School, a Polk County Public School.

103. Plaintiff Kirstine Nicks is an adult resident of Polk City, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent

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by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Lewis Parker, Jr., a minor child, who is 7 years old, and is currently in the 2nd
grade at Polk City Elementary School, a Polk County Public School.

104. Plaintiff Donna Ogletree is an adult resident of Mulberry, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Ryan Ogletree, a minor child, who is 9 years old, and is currently in the 4th
grade at Purcell Elementary School, a Polk County Public School.

105. Plaintiff Fred Peche is an adult resident of Bartow, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. Plaintiff
Angela Peche is an adult resident of Bartow, Polk County, Florida, a Parent of a child currently
attending a Polk County public school, and taxpayer whose taxes as spent by the Polk County School
Board and its agents in the operation of the Polk County public schools.They bring this lawsuit as
an individual, taxpayer and parent, they also bring this lawsuit as Parents and next friend of Chelsea
Peche, a minor child, who is 10 years old, and is currently in the 5th grade at Floral Avenue
Elementary School, a Polk County Public School.

106. Plaintiff Robert Pickering is an adult resident of Winter Haven, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County Schoo! Board and its agents in the operation of the Polk County public
schools. He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as
Parent and next friend of Allison Pickering, a minor child, who is 14 years old, and is currently in
the 8th grade at Denison Middle School, a Polk County Public School.

107. Plaintiff Rachel Prado is an adult resident of Bartow, Polk County, Florida, a Parent
of achild currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. Plaintiff
Eloy Prado is an adult resident of Bartow, Polk County, Florida, a Parent of a child currently
attending a Polk County public school, and taxpayer whose taxes as spent by the Polk County School
Board and its agents in the operation of the Polk County public schools.They bring this lawsuit as
an individual, taxpayer and parent, they also bring this lawsuit as Parents and next friend of Tasheena
Aguilera, a minor child, who is 8 years old, and is currently in the 3rd grade at Floral Avenue
Elementary School, and Jose Aguilera Jr., a minor, who is 5 years old, and is currently in ESE
Kindergarden at Floral Avenue Elementary, a Polk County Public School.

108. Plaintiff Ricky Prather is an adult resident of Haines City, Polk County, Florida, a

Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent

by the Polk County School Board and its agents in the operation of the Polk County public schools.

Plaintiff Gwen Prather is an adult resident of Haines City, Polk County, Florida, a Parent of a child
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currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk

County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Jennifer Prather, a minor child, who is 12 years old, and is currently in the 6th grade at
Boone Middle School, a Polk County Public School.

109. Plaintiff Lisa Price is an adult resident of Fort Meade, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Scott Price is an adult resident of Fort Meade, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent they also bring this lawsuit as Parents and
next friend of Crystal Price, a minor child, who is 9 years old, and is currently in the 4th grade at
Riverside Elementary School, and Tony Price, a minor, who is 11 years old, and is currently in the
6th grade at Fort Meade Middle School, a Polk County Public School.

110. Plaintiff Randy Pyle is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Penni Pyle is an adult resident of Lakeland, Polk County, Florida, a Parent of children
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Ashley Pyle, a minor child, who is 11 years old, and is currently in the 6th grade at
Kathleen Middle School, and Randall Pyle, a minor, who is 10 years old, and is currently in the Sth
grade at Griffin Elementary School, a Polk County Public School.

111. Plaintiff Brenda Rayborn is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Timothy Rayborn is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Jason Rayborn, a minor child, who is 9 years old, and is currently in the 3rd grade
at Kathleen Elementary School, and Cianna Rayborn, a minor, who is 6 years old, and is currently
in the 1st grade at Kathleen Elementary School, a Polk County Public School.

112. Plaintiff Katrinia Rayborn is an adult resident of Lakeland, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools, Plaintiff Kim Rayborn is an adult resident of Lakeland, Polk County, Florida, a Parent of

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a child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Selina Rayborn, a minor child, who is 9 years old, and is currently in the 3rd grade
at Winstone Elementary School, a Polk County Public School.

113. Plaintiff J. Paul Revecs is an adult resident of Winter Haven, Poik County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as
Parent and next friend of Johathan Revecs, a minor child, who is 12 years old, and is currently in
the 7th grade at Westwood Middle School, a Polk County Public School.

114. Plaintiff Larry Reibsome Sr., is an adult resident of Lakeland, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Margie Reibsome is an adult resident of Lakeland, Polk County, Florida, a Parent
ofa child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Diane Reibsome a minor child, who is 13 years old, and is currently in the 8th grade
at Mulberry Middle School, a Polk County Public School.

115. Plaintiff Michelle Richards. is an adult resident of Lakeland, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Douglas Richards is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Mitchell Richards a minor child, who is 6 years old, and is currently in the Ist grade
at Jesse Keen Elementary Middle School, and Mariah Richards, a minor, who is 4 years old, and is
currently in Kindergarden at Jesse Keen Elementary, a Polk County Public School.

116. Plaintiff LeAnne Rimes is an adult resident of Bartow, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Brittany Rimes, a minor child, who is 6 years old, and is currently in the 2nd
grade at Alturas Elementary School, a Polk County Public School.

117. Plaintiff Alta Rodgers is an adult resident of Polk City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as

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spent by the Polk County School Board and its agents in the operation of the Polk County public

schools. Plaintiff Michael Rodgers Sr. is an adult resident of Polk City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools.They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as
Parents and next friend of Michael Rodgers, Jr., a minor child, who is 13 years old, and is currently
in the 8th grade at Lake Alfred Middle Middle School, and Brandon Rodgers, a minor, who is 7
years old, and is currently in the 2nd grade at Polk City Elementary School, a Polk County Public
School.

118. Plaintiff Allen Sale is an adult resident of Bartow, Lakeland, Florida, a Parent of a
child currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. He brings
this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as Parent and next
friend of Christopher Sale, a minor child, who is 10 years old, and is currently in the 5th grade at
Carlton Palmore Elementary School, a Polk County Public School.

119. Plaintiff Kimberly Sanders is an adult resident of Lakeland, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of James Sanders Jr., a minor child, who is 13 years old, and is currently
in the 8th grade at Lake Gibson Middle Middle School, Johnathan Sanders, a minor, who is 11 years
old, and is currently in the 5th grade at Socrum Elementary School, Joseph Sanders, a minor, who
is 9 years old, and is currently in the 3rd grade Socrum Elementary School, and Jeremy Sanders, a
minor, who is 7 years old, and is currently in the Ist grade at Socrum Elementary School, a Polk
County Public School.

120. Plaintiff Gloria Scott is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Thomas Scott is an adult resident of Lakeland, Polk County, Florida, a Parent of children
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Jennifer Scott, a minor child, who is 13 years old, and is currently in the 8th grade at
Kathleen Middle School, and Chris Scott, a minor, who is 12 years old, and is currently in the 7th
grade at Kathleen Middle School, a Polk County Public School.

121. Plaintiff Lee Shira is an adult resident of Winter Haven, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent

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and next friend of Michelle Shira, a minor child, who is 12 years old, and is currently in the 7th
grade at Westwood Elementary School, a Polk County Public School.

122. Plaintiff Bryan Siddell is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as Parent and
next friend of Cynthia Siddell, a minor child, who is 11 years old, and is currently in the 5th grade
at Highland City Elementary School, a Polk County Public School.

123. Plaintiff Rebecca Skinner is an adult resident of Fort Meade, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Katlyn Skinner, a minor child, who is 5 years old, and is currently in
Kindergarden at Lewis Elementary School, a Polk County Public School.

124. Plaintiff Larry Smith is an adult resident of Lakeland, Polk County, Florida, a Parent
of a child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. He
brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as Parent and
next friend of Beau Deaver, a minor child, who is 9 years old, and is currently in the 4th grade at
Medulla Elementary School, a Polk County Public School.

125. Plaintiff Renee Smith is an adult resident of Bartow, Polk County, Florida, a Parent
of a child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. Plaintiff
Charles Smith is an adult resident of Bartow, Polk County, Florida, a Parent of a child currently
attending a Polk County public school, and taxpayer whose taxes as spent by the Polk County School
Board and its agents in the operation of the Polk County public schools. They bring this lawsuit as
an individual, taxpayer and parent, they also bring this lawsuit as Parents and next friend of Sarah
Smith, a minor child, who is 8 years old, and is currently in the 3rd grade at Floral Avenue
Elementary School, a Polk County Public School.

126. Plaintiff Charles Snell is an adult resident of Mulberry, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Susan Snell is an adult resident of Mulberry, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Jessica Snell, a minor child, who is 12 years old, and is currently in the 7th grade

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at Mulberry Middle School, and Darryl Dodge, a minor, who is 13 years old, and is currently in the
8th grade at Mulberry Middle School, a Polk County Public School.

127. Plaintiff Robert Solomon is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Debra Solomon is an adult resident of Lakeland, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Brandy Solomon, a minor child, who is 12 years old, and is currently in the 6th
grade at Mulberry Middle School, and Carrie Solomon, a minor, who is 10 years old, and is currently
in the 4th grade at Sikes Elementary School, a Polk County Public School.

128. Plaintiff Stacey Sprouse is an adult resident of Polk City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Michael Sprouse is an adult resident of Polk City, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Lindsey Johnson, a minor child, who is 6 years old, and is currently in the Ist
grade at Polk City Elementary School, Samantha Johnson, a minor, who is 13 years old, and is
currently in the 7th grade at Lake Alfred Middle School, and Ashley Sprouse, a minor, who is11
years old, and is currently in the Sth grade at Polk City Elementary School, a Polk County Public
School.

129. Plaintiff Billy Johnson is an adult resident of Lakeland, Polk County, Florida, a Parent
of a child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. Plaintiff
Robyn Johnson is an adult resident of Lakeland, Polk County, Florida, a Parent of a child currently
attending a Polk County public school, and taxpayer whose taxes as spent by the Polk County School
Board and its agents in the operation of the Polk County public schools. They bring this lawsuit as
an individual, taxpayer and parent, they also bring this lawsuit as Parents and next friend of Megan
Stearns, a minor child, who is 11 years old, and is currently in the 3rd grade at Watson Elementary
School, a Polk County Public School.

130. Plaintiff Pamela Steffey is an adult resident of Lake Wales, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Newton Steffey is an adult resident of Lake Wales, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.

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They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents

and next friend of Steven Steffey, a minor child, who is 11 years old, and is currently in the 7th
grade at McLaughlin Middle School, and Amber Steffey, a minor, who is 8 years old, and is
currently in the 3rd grade at Hillcrest Elementary School, a Polk County Public School.

131. Plaintiff Terry Stoelton is an adult resident of Eagle Lake, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Mark Stoelton is an adult resident of Eagle Lake, Polk County, Florida, a Parent of a child
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Derrick Stoelton, a minor child, who is 13 years old, and is currently in the 8th grade at
Westwood Middle School, a Polk County Public School.

132. Plaintiff lolanthe Stokes is an adult resident of Bartow, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff David Stokes is an adult resident of Bartow, Polk County, Florida, a Parent of children
currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Portia Fremgen, a minor child, who is 10 years old, and is currently in the Sth grade at
Floral Avenue Elementary School, Crystal Wood, a minor, who is 8 years old, and is currently in the
3rd grade at Floral Avenue Elementary School, and Leah Stokes, a minor, who is 6 years old, and
is currently in the 1st grade at Garden Grove Elementary, a Polk County Public School.

133. Plaintiff Kimberly Strickland is an adult resident of Winter Haven, Polk County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this
lawsuit as Parent and next friend of Aaron Strickland, a minor child, who is 10 years old, and is
currently in the 5th grade at Lake Elbert Elementary School, and Spencer Strickland, a minor, who
is 7 years old, and is currently in the 2nd grade at Lake Elbert Elementary School, a Polk County
Public School.

134. Plaintiff Anna Sutter is an adult resident of Bartow, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools. She
brings this lawsuit as an individual, taxpayer and parent, she also brings|this lawsuit as Parent and
next friend of Sarah Sutter, a minor child, who is 13 years old, and is c tly in the 7th grade at
Bartow Middle School, and Danny Sutter,.a minor, who is 9 years old, and is currently in the 4th
grade at Floral Avenue Elementary School, a Polk County Public School.

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135. Plaintiff Alice Talmadgo is an adult resident of Haines City, Polk County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Stephanie Degroat, a minor child, who is 10 years old, and is currently
in the Sth grade at Eastside Elementary School, and Jamie Wrobel, a minor, who is 13 years old, and
is currently in the 7th grade at Boone Middle School, a Polk County Public School.

136. Plaintiff Charles Taylor, Sr. is an adult resident of Lithia, Hillsborough County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Kathryn Taylor is an adult resident of Lithia, Hillsborough County, Florida,
a Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit
as Parents and next friend of Brenda Taylor, a minor child, who is 9 years old, and is currently in
the 3rd grade at Kingsford Elementary School, and Charles Taylor, Jr., a minor, who is 5 years old,
and is currently in Kindergarden at Kingsford Elementary School, a Polk County Public School.

137. Plaintiff , Timothy Tillman is an adult resident of Winter Haven, Polk County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Marietta Tillman is an adult resident of Winter Haven, Polk County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this
lawsuit as Parents and next friend of Nicholas Tillman, a minor child, who is 11 years old, and is
currently in the 5th grade at Jewett Elementary School, Aaron Tillman, a minor, who is 9 years old,
and is currently in the 4th grade at Jewett Elementary School, and Seth Tillman, a minor, who is 5

years old, and is currently in Kindergarden at Jewett Elementary School, a Polk County Public
School.

138. Plaintiff AnDrew Toole is an adult resident of Lakeland, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Frances Toole is an adult resident of Lakeland, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Jennifer Toole, a minor child, who is 9 years old, and is currently in the 4th grade
at Sikes Elementary School, and AnDrea Toole, a minor, who is 7 years old, and is currently in the
2nd grade at Sikes Elementary School, a Polk County Public

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139. Plaintiff John Tribuiani is an adult resident of Winter Haven Polk County, Florida,
a Grandparent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Joan Tribuiani is an adult resident of Winter Haven, Polk County, Florida,
a Grandparent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. They bring this lawsuit as an individual, taxpayer and grandparent, they also bring
this lawsuit as Grandparents and next friend of Christopher Goodson, a minor child, who is 13
years old, and is currently in the 6th grade at Fruitland Park Elementary School, Stephanie Goodson,
a minor, who is 10 years old, and is currently in the 3rd grade at Garner Elementary School, and
Joshua Goodson, a minor, who is 6 years old, and is currently in the 1st grade at Garner Elementary
School, a Polk County Public

140. Plaintiff Michael Truax is an adult resident of Polk City, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Carol Truax is an adult resident of Polk City, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Kayla Truax, a minor child, who is 12 years old, and is currently in the 7th grade at
Dundee Ridge Middle School, Grant Truax, a minor, who is 11 years old, and is currently in the 6th
grade at Dundee Ridge Middle School, and Brittney Truax, a minor, who is 10 years old, and is
currently in the 4th grade at Eastside Elementary School, a Polk County Public

141. Plaintiff Shawn Truax is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
He brings this lawsuit as an individual, taxpayer and parent, he also brings this lawsuit as Parent and
next friend of Jessica Truax, a minor child, who is 8 years old, and is currently in the 2nd grade at
Griffin Elementary School, a Polk County Public School.

142. Plaintiff Theodore VanDevender is an adult resident of Mulberry, Polk County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Tammy VanDevender is an adult resident of Mulberry, Polk County,
Florida, a Parent of children currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this
lawsuit as Parents and next friend of James VanDevender, a minor child, who is 9 years old, and
is currently in the 3rd grade at Kings Ford Elementary School, and Leeanna Vandevender, a minor,
who is 7 years old, and is currently in the Ist grade at Sikes ElementarySchool, a Polk County
Public School.

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143. Plaintiff Rosalie Vandiver is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Rachel Vandiver, a minor child, who is 8 years old, and is currently in the 3rd
grade at Crystal Lake Elementary School, a Polk County Public School.

144. Plaintiff Karen Vinyard is an adult resident of Winter Haven, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Steve Vinyard is an adult resident of Winter Haven, Polk County, Florida, a Parent
of a child currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Stephanie Bardell, a minor child, who is 12 years old, and is currently in the 6th
grade at Stambaugh Middle School, a Polk County Public School.

145. Plaintiff Thomas Wagner is an adult resident of Babson Park, Polk County, Florida,
a Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Kimberly Wagner is an adult resident of Babson Park, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Thomas Wagner, a minor child, who is 10 years old, and is currently in the Sth
grade at Babson Park Elementray School, a Polk County Public School.

146. Plaintiff Elizabeth Ware is an adult resident of Bartow, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Anthony Ware is an adult resident of Bartow, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Tiera Henderson, a minor child, who is 11 years old, and is currently in the 6th grade
at Bartow Middle School, Michael Henderson, a minor, who is 10 years old, and is currently in the
5th grade at Eagle Lake Elementary School, Christopher Henderson, a minor, who is 8 years old, and
is currently in the 2nd grade at Eagle Lake Elementary, Floyd Henderson, a minor, who is 7 years
old, and is currently in the 1st grade at Eagle Lake Elementary, and Dion Henderson, a minor, who
is 6 years old, and is currently in Kindergarden at Eagle Lake Elementary, a Polk County Public
School.

147. Plaintiff Regina Weare is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
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by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Nicholas Weare, a minor child, who is 12 years old, and is currently in the 6th
grade at Crystal Lake Middle School, a Polk County Public School.

148. Plaintiff Robert Weese is an adult resident of Lake Alfred, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Darlene Weese is an adult resident of Lake Alfred, Polk County, Florida, a Parent
of children currently attending a Polk County public school, and taxpayer whose taxes as spent by
the Polk County School Board and its agents in the operation of the Polk County public schools.
They bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents
and next friend of Amanda Amans, a minor child, who is 11 years old, and is currently in the 6th
grade at Lake Alfred Middle School, and James Amans, a minor, who is 9 years old, and is currently
in the 3rd grade at Lake Alfred Elementary School, a Polk County Public School.

149. Plaintiff Charles Weaver is an adult resident of Bartow, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. Plaintiff Tabetha Weaver is an adult resident of Bartow, Polk County, Florida, a Parent of
children currently attending a Polk County public school, and taxpayer whose taxes as spent by the
Polk County School Board and its agents in the operation of the Polk County public schools. They
bring this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and
next friend of Deidra Braswell, a minor child, who is 13 years old, and is currently in the 8th grade
at Bartow Middle School, Meghan Braswell, a minor, who is 11 years old, and is currently in the 4th
grade at Gibbons Street Elementary School, Charles Weaver, a minor, who is 5 years old, and is
currently in Kindergarden at Gibbons Street Elementary, Alexander Weaver, a minor, who is 11
years old, and is currently in the 6th grade at Lake Alfred Middle School, and Melanie Weaver, a
minor, who is 10 years old, and is currently in the 4th grade at Polk City Elementary, a Polk County
Public School.

150. Plaintiff Kimberly Wilkes is an adult resident of Bartow, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
Plaintiff Richard Wilkes Sr. is an adult resident of Bartow, Polk County, Florida, a Parent of a
child currently attending a Polk County public school, and taxpayer whose taxes as spent by the Polk
County School Board and its agents in the operation of the Polk County public schools. They bring
this lawsuit as an individual, taxpayer and parent, they also bring this lawsuit as Parents and next
friend of Richard Wilkes II, a minor child, who is 10 years old, and is currently in the 5th grade at
Floral Avenue Elementary School, a Polk County Public School.

151. Plaintiff Darlene Williams is an adult resident of Winter Haven, Polk County,
Florida, a Parent of a child currently attending a Polk County public school, and taxpayer whose

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taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. Plaintiff Robert Williams is an adult resident of Winter Haven, Polk County,
Florida, a Parent of a child currently attending a Polk County public school, and taxpayer whose
taxes as spent by the Polk County School Board and its agents in the operation of the Polk County
public schools. They bring this lawsuit as an individual, taxpayer and parent, they also bring this
lawsuit as Parents and next friend of Eric Williams, a minor child, who is 9 years old, and is
currently in the 4th grade at Eagle Lake Elementary School, a Polk County Public School.

152. Plaintiff Sheri Williams is an adult resident of Eaton Park, Polk County, Florida, a
Parent of children currently attending a Polk County public school, and taxpayer whose taxes as
spent by the Polk County School Board and its agents in the operation of the Polk County public
schools. She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit
as Parent and next friend of Frank Denham, a minor child, who is 12 years old, and is currently in
the 6th grade at Crystal Lake Middle School, and Joshua Denham, a minor, who is 10 years old, and
is currently in the 5th grade at Oscar J. Pope Elementary School, a Polk County Public School.

153. Plaintiff Brenda Wilson is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Shane Wilson, a minor child, who is 12 years old, and is currently in the 7th
grade at Lake Gibson Middle School, a Polk County Public School.

154. Plaintiff Terra Wilson is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of DanaeWilson, a minor child, who is 6 years old, and is currently in Kindergarden
at Jesse Keen Elementary School, a Polk County Public School.

155. Plaintiff Tonya Wilson is an adult resident of Lakeland, Polk County, Florida, a
Parent of a child currently attending a Polk County public school, and taxpayer whose taxes as spent
by the Polk County School Board and its agents in the operation of the Polk County public schools.
She brings this lawsuit as an individual, taxpayer and parent, she also brings this lawsuit as Parent
and next friend of Matthew Puhak, a minor child, who is 12 years old, and is currently in the 7th
grade at Lakeland Highlands Middle School, a Polk County Public School.

156. The Plaintiffs desire to exercise and protect their constitutional rights pursuant to the
United States and Florida Constitutions by challenging and objecting to the Defendant's adoption
and implementation of a mandatory school uniform dress code in the Polk County elementary and
middle schools. The Plaintiffs want to prevent the Defendants from depriving them under color
of state law, ordinance, regulation, rule, custom, or usage their constitutional rights prusuant to the
United States and Florida Constitutions, as a result of the Defendants officially adopting and

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implementing a mandatory school uniform dress code for the Polk County elementary and middle
schools. The Plaintiffs object to the use of their tax dollars to implement a mandatory school
uniform dress code and further object to the diversion of resources that would otherwise be available
for the childrens’ education.

157. Defendant Polk County School Board (herein referred to as the Board) is a political
subdivision of the State of Florida. The Board is a local school board for the Polk County School
District organized and existing under the laws of the State of Florida, whose members all hold
elective office and exercise the powers of a local school board under the laws of the State of Florida.
The Board is responsible for providing public education to the children within its jurisdiction and
for administering the laws and policies that govern the public schools within its jurisdiction, which
includes the Polk County School District. The Board is sued in its official capacity for damages,
injunctive relief and declaratory relief.

158. Defendant Glenn Reynolds is the Superintendent of the Polk County Public Schools
(herein after referred to as the Superintendant). The Superintendant holds elective office and is
responsible for the operation and administration of the Polk County Schools, including the
implementation of the Board's policies. The Superintendant is sued in his official capacity for
damages, injunctive relief and declaratory relief.

159. At all times relevant to this action, the Defendants were and have been acting under
color of statutes, ordinances, regulations, customs and usages of the State of Florida and of the Polk
County Schoo! District.

NOTE: The description of the Parties is the description at the time of the original
Complaint.

JURISDICTION AND VENUE

160. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343,
2201, and 2202 and 42 U.S.C. §§ 1983 and 1988. Venue is proper in this Court pursuant to 28
U.S.C. § 1391.

STATEMENT OF FACTS

161. On or about May 11, 1999, the Board by a 4-3 vote adopted a mandatory school
uniform dress code (herein after referred to as the Dress Code). A copy of the Dress Code for the
Polk County Elementary Schools is attached hereto and incorporated herein by reference as Exhibit
A. A copy of the Dress Code for the Polk County Middle Schools is attached hereto and
incorporated herein by reference as Exhibit B.

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162. The Dress Code, as adopted bya4-3 vote of the Board, was to become effective for
the 1999/2000 Polk County School year.

163. The 1999/2000 school year for all the Polk County Elementary and Middle Schools
for which the Dress Code is applicable has been completed. The 2000/2001 school year is still in
session. ,

164. The Dress Code is being enforced and has been enforced either by the Board, the
Superintendent or their agents, since the start of the 1999/2000 Polk County School year in Polk
County Elementary and Middle Schools for which the Dress Code is applicable.

165. The Dress Code purports to be content neutral in that the only expressed exception
to content permits a student to wear ".... a button, armband or other accoutrement to excerise the
right of Free Speech guaranteed by the United States and Florida Constitutions..."

166. Although the Dress Code provides that a student may wear "a button, armband or
other accoutrement to excerise the right of free speech..." a number of student Plaintiffs have been
required by School personnel to remove such accoutrements (such as a sticker reading "Uniforms
Stink" ). These student Plaintiffs include, but are not limited to, the following: Jesse Battle, Crystal
Price, Lisa Hitt and Stephanie Bardell. These actions by school personnel chill all the Plaintiffs
rights of free speech.

167. School personnel have engaged in other behavior and actions which chill rights of
free speech by harassing and embarrassing student Plaintiffs who excercise their rights by the
wearing of accoutrements protesting the Dress Code. These student Plaintiffs include, but are not
limited to the following: Crystal Price, Chalmas C. Bishop and Matthew King. These actions by
school personnel chill all the Plaintiffs' rights of free speech.

168. The Dress Code is not content neutral in that "each school may include in its uniform
dress code the option of allowing students to wear a "school-sponsored T-shirt...", and such school-
sponsored T-shirts have speech content on them, including the name of the school, school emblem
etc.

169. The Dress Code is not content neutral in that it permits a student to wear"... a uniform
of a nationally recognized youth organization, such as the Boy Scouts or Girl Scouts, on regular
meeting days...". This organizational attire constitutes speech content.

170. The Dress Code on its face and in its application prohibits students from wearing
clothing that contain political, religious, educational, commercial and other forms of speech.

171. Student Plaintiffs who excercise their rights of free speech by the wearing of clothing
with political content (such as a United States flag T-shirt), religious content (such as a T-shirt
stating "What Would Jesus Do"), educational content (such as a D.A.R.E. T-shirt a nationally
recognized drug education program) and commercial content (such as company logos) have been

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required to exchange or remove the clothing. Those who have refused to abandon their First
Amendment rights have been subjected to st scipline. These student Plaintiffs include, but
are not limited to the following: Eric Williams, Chelsea Peche, Crystal Price, Brandon Huffman,
Stefan and Simon Ambrose, Tillman Chil Andrew Elwing, Beau Deaver and Jennifer Prather.
These actions by school personnel chill all the Plaintifis’ rights of free speech.

172. The Dress Code is not content neutral i in that some students are permitted to wear
shirts that contain commercial speech, such as company logos or emblems.

173. The Dress Code purports to protect: freedom of religion by providing an exception to
the Dress Code where "The wearing of clothing in compliance with the uniform dress code violates
a students sincerely held religious belief."

174. Although the Dress Code creates a purported exception for sincerely held religious
beliefs, the Board has failed to establish and develop procedures and criteria for implementing this
exception.

175. Each of the student Plaintiffs for whom wearing clothing in compliance with the
Dress Code violates their sincerely held religious belief have been denied this exception. These
student Plaintiffs include, but are not limited to the following: Eric Williams, Chelsea Peche,
Brandon Huffman, Mary Hunt, Sarah Keegans, Louis Children, King Children, Selina Rayborn,
Andrew Elwing, Jennifer Prather, McCall children, Sarah Smith and Aguilera children.

176. The Dress Code provides that students wear a basic uniform, which limits the styles
and colors of clothing that can be worn.

177. The Dress Code prevents the student Plaintiffs and/or the parent Plaintiffs from
choosing clothing that expresses their individuality, identity, gender, ethnic and religious heritage.

178. The Dress Code prevents the student Plaintiffs and/or the parent Plaintiffs from
choosing clothing that meets individual requirements. No exception is permitted under the Dress
Code to accomodate individual size preferences or style preferences, especially for large-sized
children. Mandatory compliance results in student Plaintiffs being forced to wear clothing styles
which are unflattering, difficult to obtain, and harmful to their self esteem.

179. The Dress Code prevents student Plaintiffs from learning to make their own choices
regarding apporopriate clothing, prevents them from learning to accept differences in other people
(including dress), and prevents them from learning to be leaders and not followers.

180. Through the implementation of the Dress Code the School Board has improperly
interferred with the parent-child relationship by requiring the parent Plaintiffs to dress the student
Plaintiffs in a certain way in complete disregard to the parents’ decision and choice regarding what
their child wears.

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181. By implementing the Dress Cod the Board has improperly interferred with the
parent-child relationshop by requiring the parext Plaintiffs to purchase specific and limited types
of clothing for their student Plaintiffs. In its application the dress code usurps the parent Plaintiffs
ability to allocate their financial resources according to their individual needs. Parent Plaintiffs are
precluded from purchasing clothing that is less expensive than the school uniforms or purchasing
clothing that is multifunctional, such as clothing that can be worn to school and church etc.

182. The Dress Code purports to protect students from penalties for failing to comply with
the Dress Code due to financial hardship and purports to offer assistance to students who "... have
or are having difficulty complying with their school's uniform dress code due to financial
hardships..."

183. The Dress Code provides that the school principal and QIC or SAC are to develop
procedures and criteria to assist students with financial hardship. These procedures and criteria for
assisting students with financial hardship either do not exist or are inadequate.

184. The Dress Code provides the school principals and QIC or SAC"... shall develop a
program to provide for donations of clothing or financial assistance, consignment shops or reuse of
uniform clothing or similiar program that would alleviate such financial hardship." These programs
either do not exist or are inadequate.

185. Student Plaintiffs with financial hardships have not been provided with uniforms by
school personnel in some instances or have been given an inadequate supply of clothing to
reasonably meet the daily uniform needs. These student Plaintiffs include, but are not limited to the
following: Chalmas C. Bishop, Joshua Boomer, King children, Michael Gay Jr., Timothy Thomas,
Amber Cummins, Dennis family, Hitt family, Aguilera children, Mary Hunt, Joyce-Mann family,
Angela Marcello, Tiffany McDonald, Pyle family, Snell family, Danna Wilson, Sanders family and
Graham family.

186. Student Plaintiffs with financial hardships who have been provided with uniforms by
school personnel in some instances have been provided with inferior clothing, visibly used clothing,
and ill-fitting clothing which segregates them from those students without financial hardships. These
student Plaintiffs include, but are not limited to the following: Doll family, Edwards family and
Heather Harris.

187. Student Plaintiffs with financial hardships have been forced by school personnel to
wear uniforms marked with a visible letter "L" to designate the uniform as a loaner from the school.
Being forced to wear the clothing marked with an "L" is a source of embarrassement, humilation,
mental anguish etc. for these students and segregates children based upon income. These student
Plaintiffs include, but are not limited to the following: Andrew Batson.

188. The Dress Code is being enforced in a manner that creates undue financial hardship
to all Plaintiffs. Faded clothing has been found not to be in compliance with the Dress Code. This

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practice has placed an unreasonable financial burden on the parent Plaintiffs to replace otherwise
uniform compliant clothing on a more frequeit basis or risk sanctions if they fail to do so.

189. Information provided by the School Board, the Superintendent and school personnel
failes to provide adequate notice and guidance as to what is acceptable clothing under the Dress
Code. Clothing deemed acceptable at one Polk County School is not acceptable at another Polk
County School.

190. Some schools utilize "loan" programs to assist students with financial hardships by
providing the students with clothing upon their arrival at school and collecting the clothing at a
designated point in the school day. This implementation of this program takes away from and
interferes with instructional time that these student Plaintiffs would otherwise benefit from, and
discriminates against those student Plaintiffs with financial hardship with loss of educational time.
The student Plaintiffs include, but are not limited to, the following: Goodwin children, Lewis Parker
Jr, and Scott children.

191. The Dress Code fails to create an exception where the wearing of clothing in
compliance with the Dress Code would be injurious to the student's health, safety or welfare.

192. The "loaner" programs endanger the health and welfare of the student Plaintiffs
alleged in paragraph 190. These programs in which the students exchange their personal clothing
for loaner clothing creates significant health, safety, and welfare conerns. Sanitary issues arising
from the intermingling of clothing include health problems such as the transmission of head and
body lice. The loaner clothing is not washed daily, thus requiring students to wear unlaundred
clothing that was previouly worn by other students.

193. The Dress Code compromises the safety of all the student Plaintiffs. It limits
identification of missing or lost children. This situation has already occured at least one time when
a student Plaintiff accidentally got on the wrong school bus and a parent Plaintiff was unable to give
the Lakeland Police Department a meaningful clothing description. By contrast, in the 1998 school
year a student Plaintiff who was dropped off at a wrong bus stop and was easily identified based
upon his individulized non-dress code compliant clothing. This rationale applies to all student
Plaintiffs in other emergency situations in which it is important to be able to identify a particular
child rapidly.

194. Inadequate supervision of children who are segregated from other students for non-
compliance with the Dress Code endangers the health, safety and welfare of all student Plaintiffs.
In at least one instance, Amber Cummins, a student Plaintiff, had an allergy attack while segregated
in a room by herself, because her shirt was the wrong shade of blue, and no school employee was
present in the suspension room.

195. The health, welfare, and safety of Amber Dalpe and Leila johnson student Plaintiffs,
was endangered because school personnel required the student to wear iniform clothing over

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personal non-uniform clothing despite high temperatures. Another student Plaintiff, Gilmore, was
not allowed to remove an item of uniform clothing despite high temperatures in a situation where
non-uniform clothing would have been cooler. Practices of this nature by school personnel endanger
the health, welfare and safety of all student Plaintiffs.

196. Uniforms do not allow for adequate stranger identification in situations where there
has been a violation of school rules, including criminal acts, thus endangering the health, safety and
welfare of all the student Plaintiffs.

197. Approved clothing colors under the Dress Code are identical to those colors which
are utilized as gang colors by known gang organizations in Polk County. The adoption of these
mandatory colors under the Dress Code endangers the health, safety and welfare of all student
Plaintiffs who could be identified as belonging to rival gangs.

198. The Dress Code, by failing to have a health and safety exception, does not address
the special needs and requirements of students with disabilities, physical handicaps or other health
problems. These student Plaintiffs include, but are not limited, to the following: Brittany Hayes
(heart monitor), Michael DeFelice (hand problems), Tabitha Mullan (burns), Christopher Goodson
(multiple handicaps), Richard Wilkes II (craniofacial deformity), and Jose Aguilera, Jr. (mentally
disadvantaged)

199. The findings upon which the Board based its decision to implement the Dress Code
are erroneous, flawed, incorrect and unsupported, thus making the Dress Code arbitrary and
capricious with respect to all the Plaintiffs.

200. The enforcement of the Dress Code is arbitrary and capricious as to all student
Plaintiffs, and fails to provide all Plaintiffs adequate notice or guidelines as to what clothing is
compliant under the Dress Code.

201. There is not any intra-school consistency in enforcementof the Dress Code. Clothing
deemed compliant at one school is banned at another school. The severity of enforcement and
sanctions imposed varies between schools. All the student Plaintiffs are affected by this.

202. The Dress Code has been erroneously enforced, resulting in student Plaintiffs being
disciplined and missing classroom time even though they were dressed properly under the Dress
Code. The student Plaintiffs include, but are not limited, to the following: Emily Dalpe, Brandon
Rodgers, Eric Williams, Jeremy Hughes and Jennifer Prather.

203. The Dress Code prevents all student Plaintiffs from receiving a public education in
that if they choose not to comply with the Dress Code, the sanctions for Dress Code violations
include In School Suspension, Out of School Suspension etc.

204. The Dress Code prevents all student Plaintiffs from receiving a public education in

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e and not incur sanctions for Dress Code

that if they choose not to comply with the m
al to seek alternative means of education.

violations, they must withdraw from Public §

205. The Dress Code prevents all student Plaintiffs from receiving the full benefits of a
public education in that the time spent with uniform inspections deprives children of instructional
time. —

206. The Dress Code prevents all student Plaintiffs from receiving a free public education
in that the parent Plaintiffs must expend money for the purchase of uniforms which are required in
order to attend a public school in Polk County under the Dress Code. Additional monetary
requirements are also being implemented by school personnel, such as the requirement that a student
rent a belt at 25 cents a day if they do not wear one.

207. The Dress Code permits an exception to the mandatory uniform which allows a
student to wear ".... a uniform ofa nationally recognized youth organization, such as the Boy Scouts
or Girl Scouts, on regular meeting days; ...."

208. School personnel refuse to permit certain youth organizations that meet this definition
to utilize this exception. Student Plaintiffs affected by this include, but are not limited to, the
following: Crystal Price (Pop Warner football cheerleaders), Joshua Boomer and Hemming children
(Royal Rangers), Casey Odom (Brownies), Mathers children (USA Wrestling), Dallas McCall
(United States Swimming/NRA Eddie Eagle Program) and Angela McCall (United States
Swimming).

209. Even though organizations like Boy Scouts are specifically recognized, students who
belong to these organizations are being told by school personnel what constitutes a permissible
uniform for the organization and are being told they cannot wear certain recognized uniforms of the
organization.

210. All of the Plaintiffs have been adversely effected by the Dress Code on its face and

in its application, and will continue to be adversely effected for as long as the Dress Code is allowed
to remain in effect and continues to be enforced.

CONSTITUTIONAL VIOLATIONS

FIRST CAUSE OF ACTION
211. Paragraphs | through 210 are incorporated herein by reference.

212. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it prevents the Plaintiffs from exercising their freedom of speech

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in violation of the First and Fourteenth Amendmen
Section 4 of the Florida Constitution, and 42

to the United States Constitution; Article I,

213. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in its application as to all Plaintiffs as well as the specific Plaintiffs as alleged
herein, in that it prevents the Plaintiffs from excerising their freedom of speech as alleged herein in
violation of the First and Fourteenth Amendments of the United States Constitution; Article I,
Section 4 of the Florida Constitution; and 42 U.S.C. §1983.

ACTION
214. Paragraphs | through 210 are incorporated herein by reference.

215. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it prevents the Plaintiffs from exercising their freedom of
expression in violation of the First and Fourteenth Amendments to the United States Constitution;
Article I, Sections 2 and 4 of the Florida Constitution; and 42 U.S.C. § 1983.

216. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in its application as to alj Plaintiffs as alleged herein, as well as the specific
Plaintiffs as alleged herein, in that it prevents the Plaintiffs from excerising their freedom of
expression as alleged herein in violation of the First and Fourteenth Amendments of the United
States Constitution; Article I, Section 2 and 4 of the Florida Constitution; and 42 U.S.C. §1983.

THIRD CAUSE OF ACTION
217. Paragraphs 1 through 210 are incorporated herein by reference.

218. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it prevents the Plaintiffs from exercising their freedom of religion
in violation of the First and Fourteenth Amendments of the United States Constitution, Article I,
Sections 2 and 3 of the Florida Constitution, and 42 U.S.C. § 1983.

219. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in its application as to the specific Plaintiffs as alleged herein, in that it prevents the
Plaintiffs from excerising their freedom of religion in violation of the First and Fourteenth
Amendments of the United States Constitution; Article I, Section 2 and 3 of the Florida Constitution;
and 18 U.S.C. §1983.

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220. Paragraphs | through 210 are incorporated herein by reference.

221. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it violates the Plaintiffs rights to equal protection of the law as
guaranteed by the Fourteenth Amendment of the United States Constitution, Article I, Section 2 of
the Florida Constitution, and 42 U.S.C. § 1983.

222. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in its application as to all Plaintiffs, as well as the specific Plaintiffs as alleged
herein, in that it violates the Plaintiffs’ rights to equal protection of the law as alleged herein as
guaranteed by the Fourteenth Amendment of the United States Constitution, Article I, Section 2 of
the Florida Constitution, and 18 U.S.C. § 1983.

FIFTH CAUSE OF ACTION

223. Paragraphs 1 through 210 are incorporated herein by reference.

224. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it violates the Plaintiffs’ rights to due process of the law as
guaranteed by the Fourteenth Amendment of the United States Constitution, Article I, Section 9 of
the Florida Constitution, and 42 U.S.C. § 1983.

125. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in its application as to all Plaintiffs in that it violates the Plaintiffs rights of privacy,
both as individuals and in the parent-child relationship, as alleged herein as guaranteed by the
Fourteenth Amendment of the United States Constitution, Article I, Section 9 of the Florida
constitution, and 42 U.S.C. §1983.

SIXTH CAUSE OF ACTION

226. Paragraphs | through 210 are incorporated herein by reference.

227. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it violates the Plaintiffs’ rights of privacy, both as individuals and
in the parent-child relationship, as guaranteed by the Fourteenth Amendment of the United States
Constitution, Article I, Section 23 of the Florida Constitution, and 42 U.S.C. § 1983.

228. The Dress Code as enacted and implemented by the Defendants and their agents

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is unconstitutional in its application as to all Plaintiffs i in that it violates the Plaintiffs rights of
privacy, both as individuals and in the parent-child relationship, as alleged herein, as guaranteed by
the Fourteenth Amendment of the United States Constitution, Article I, Section 23 of the Florida
Constitution, and 42 U.S.C. § 1983.

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229. Paragraphs | through 210 are incorporated herein by reference.

230. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it deprives the Plaintiffs of rights because of physical handicap
in violation of the Fourteenth Amendment of the United States Constitution, Article I, Section 2 of
the Florida Constitution, 42 U.S.C. § 1983, and the Americans with Disabilities Act.

231. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in its application as to the specific Plaintiffs as alleged herein in that it deprives
these Plaintiffs of rights because of physical handicap in violation of the Fourteenth Amendment of
the United States Constitution, Article I, Section 2 of the Florida Constitution, 42 U.S.C §1983, and
the Americans with Disabilities Act.

CTION

232. Paragraphs | through 210 are incorporated herein by reference.

233. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it violates the Plaintiffs’ right to a free public education as
guaranteed by the Fourteenth Amendment of the United States Constitution, Article I, Section 2 and
9 of the Florida Constitution, and 42 U.S.C. § 1983.

234. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in it application as to all Plaintiffs, as well as the specific Plaintiffs as alleged herein
in that it violates the Plaintiffs’ right to a free public education as alleged herein as guaranteed by the
Fourteenth Amendment of the United States Constitution, Article I, Section 2 and 9 of the Florida
Constitution, and 42 U.S.C. §1983.

NINTH CAUSE OF ACTION
235. Paragraphs | through 210 are incorporated herein by reference.

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236. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional on its face in that it violates the Plaintiffs’ freedom of association as guaranteed by
the First and Fourteenth Amendment of the United States Constitution, Article I, Section 2, 4 and
9 of the Florida Constitution, and 42 U.S.C. § 1983.

237. The Dress Code as enacted and implemented by the Defendants and their agents is
unconstitutional in its application as to all Plaintiffs, as well as the specific Plaintiffs as alleged
herein, in that it violates the Plaintiffs’ freedom of association as alleged herein, as guaranteed by
the First and Fourteenth Amendment of the United States Constitution, Article I, Section 2, 4 and
9 of the Florida Constitution, and 42 U.S.C. § 1983.

DAMAGES

238. Asa result of the acts of the Defendants and their agents complained herein, the
Plaintiffs have been injured in their persons and the said Defendants are liable to Plaintiffs for actual
and punitive damages.

LIEF

239. There is real and actual controversy between the parties. Plaintiffs have no adequate
remedy at law other than this action for declaratory and injunctive relief. Plaintiffs are suffering
irreparable injury as a result of the acts of the Defendants and their agents complained herein and that
injury will continue unless enjoined by this Court.

WHEREFORE, the Plaintiffs respectfully requests that this Honorable Court:
1) Take jurisdiction of this matter;
2) Set a speedy hearing on the issue of declaratory and injunctive relief;

3) Issue a declaratory judgment that the Dress Code as enacted and implemented by
the Defendants and their agents is unconstitutional on its face and in its application;

4) Issue a preliminary and permanent injunction prohibiting the Defendants and there
agents from enacting and implementing the Dress Code;

5) Grant Plaintiffs a jury trial on the issue of actual and punitive damages against the
Defendants, jointly and severely;
6) Award the Plaintiffs costs and attorney's fees pursuant to 42 U.S.C. § 1988; and

7) Such further relief as this Honorable Court deem just and proper.

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
U.S. Mail to the Office of Holland & Knight, Willliam Dufoe, 92 Lake Wire Drive, Lakeland, FL

33815, this a day of January, 2001.

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